Case 2:22-cv-00679-JMY Document 4 | Filed 03/10/22 Page 1 of 84

VERIFICATION

|, the undersigned do hereby that the forgoing is true and correct to the best of my knowledge,
understanding, belief, and upon my unlimited commercial liability.

CERTIFICATION OF SERVICE

|, the undersigned do hereby that the enclosed the original SUPERSEDEAS BONDS with attachments to
the Honorable Judge Young and a Copy to the Clerk of Court in reference CA. No.: 22-cv-679 (JMY) was
serviced upon the following party on this 09 day of March 2022 in the manner indicated below:

By: OVERNIGHT REGISTERED MAIL:

Clerk of Court

U.S. DISTICT COURT FOR THE

EASTERN DISTRICT OF PENNSYLVANIA

601 MARKET STREET, FIRST FLOOR . f
PHILADELPHIA, PA 19106 if

    

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L a A? c P —
Ss,

y: ames Coppedge, sui juris, ARR a
WO/P UCC 1-308, 3-419 Se
Authorized Representative SQ

Attorney-In-Fact

52 Barkley Ct

Dover, Delaware 19904
(215) 913-1485
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 2 of 84

Y)
\ ee
a U.S. DISTRICT COURT FOR THE

Vv

EASTERN DISTRICT OF PENNSYLVANIA

JAMES COPPEDGE CASE No.: 22-cv-679 (JMY)
V

CITY OF PHILA/DEPARTMENT OF REVENUE ; ;
“Indeed, no more than (affidavits) is necessary to make the prima facie case.”

United States v. Kis, 658 F 2" , 526 7 Cir. 1981); Cert Denied, 50 U.S.

L.W. 2169; S. Ct. March 22, 1982

INTRODUCTION
MOTION TO ENTER APPEARANCE

That I, James Coppedge, Secured Party Creditor, Attorney-In-Fact of the CORPORATE ISSUE:
JAMES COPPEDGE, DEBTOR © Ens legis, am a living breathing man, over the age of 76 with
DNA, being first duly sworn, depose and say and declare by my signature that the following

facts are true, correct and not misleading and certain to the best of my knowledge and belief.

§ 4.5 - 10—Day “Automatic “ Stay. Cease and Desist Utility Shut Offs and the POSEING

SHERIFF SALE SIGNS, pending Appeal.

RE: CONDITIONAL ACCEPTANCE —REQUEST FOR PROOF OF CLAIM ONTAX
LIABILITY AND MONETARY CONDITIONS AND AGREEMENT FOR DISCHARGE-

Reference (Account ) No.: 22-cv-679 (JMY)
v-00679-JMY Document 4 Filed 03/10/

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22 Page 3 of 84

a PRS AES

     
      

Case 2:22-c

UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF PENNSYLVANIA
CASE No.: 22-cv-679
(JMY)

ADDENDUM

48 CER Ch. 1 53.228 Bonds and imsurance

The following standard forme are prescribed for usc for bond ang omurance requirements. 2s
specifeed in purt 2B:(x} SF 24 (Rev. 10/98) Bid Bond. (Sec 28.106~1.} SF 24 is authorized for local
reproduction aad 2 copy & furnished for this parpose m Part 53 of the foosr tans adition of the
FAR. (b) SF 25 (Rev. 596) Performance Bead. (Soe 28.106-1(b).) SF 25 is autiserized far local
seproduction and a copy is furnished for fais purpose in Part 53 of the incon toaf edition of the
EAR (c} SF 25-4 (Rev. 10/98) Payereent Bowd. (See 28_106~1(c}.} SF 25-A ie authorized for loca!
reprodection and a copy is furnished fer this purpose in Pari 53 of the lease leaf edition of the
FAR. (d) SF 25-8 {Aev.-24/83), Cossimuation Shee: (For Standard Farms 24, 25, and 25—Aj. Gee
ZB_306—1{d).} (e} SF 25 (Rev. V3) Affldavis of ludividual Surety. (Soc 2B106—1(e) and Past 53 of
the toose leat edition of the FAR(o} OF 90 (Hev. 1/90), Release af Liex on Reat Property. (Se
28.106—1(0) a0d28.203-S{e).) OF 90 is authorized for tocal reproduction and a copy is furnished
for this purpose in part 53 of the {ose icaf edition of the FAR{p) OF 91 (Rex 1/90), Release of
Personal Pooperty frew Escrow. (Sec 25.106—1(p)} anc 28.203~S{a).) OF 91 te authorized for cal
reproduction aad a copy bs iuralshed for this purpose in part 53 of the toose lenf edition of the
FAR, [4 PR 42637, Sept #9, 1983, a9 aascaded at S3 FR 43395, Oct. 26, 1988; 96 FR 48993, Nov.
28,1989; 5S FR 25534, Jumc-2i, 1990; $5 FR S2BB1 Dec. 21, 1990: S9 FR 67661, Dec. 28, 1994: 61
FR 39214, July 26, 1996; 63 FR $8603, Oct 30, 1998;63 FR 70293, Doc. 18, 1998; 6¢ FR 10549,
Mas. 4, 1999; 68 FK 28088, Miay 22, 7003}

NOTICE OF MOVEMENT
Please move BONDS from the private side to the PUBLIC SIDE for
Acceptance of Value, closure and settlement of this accounting
With prejudice. Under Christian Law, if I have unknowingly failed
to see any judgments or liens, please accept them for value and discharge

them.

 
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 4 of 84

 

AFFIDAVIT OF INDIVIDUAL SURETY OMB No.: 9000-0601

(See instructions on reverse)

 

onting burden for this collection of info jon is estimated to average 3 hours per response, including the time tor reviewing instructions, searching existing data
eens Se end maintaining the dete needd, and pleting end reviewing the collection of informati Send comments regerding this burden esumate or eny other
aspect of this collection of information, inctuding suggestions for reducing this burden, 10 the Reguiatary Secretariat (MVA). Offic of Acquisition Policy, GSA. Washington,
DC 20405.

STATE OF

DELAWARE ss.

COUNTY OF
"the undersigned. being duly: swom, depose and say thatlem: (1) the surety to the attached bondis); (2} a citizen of the United
asd and of jul age ond legally competent. 1 also depose end say that, conceming any. stocks or bonds included tr the assets fisted
below, that there are nO resticiions on the reseis Gi these securities pursuent to the registaton Ben of Section 5 of the
Securities Act of 1939. 1 vecagnize that statements contsineg herein concem 3 matter witine the BrisdioGen of en agency of the
United States and the maling of a felse, fictitious oF fraudulent statement may render the maker ee € fo orasecution under title 78,
United States Cade Sections 1007 and 494. Tims affidavit is made t9 induce the United Sretes o dics To ecsept me as surety on

 

 

the attached bond.
TUNAME (ist, Middle, Zest) [Type ar Print) 2 aa aoe Wumbs:, Strest, Civ << . Cece}
B/C 156-44-328005 NY
JAME NMN OPPEDGE
S ¢ ) GORE RD 52 BARKLEY COURT, DOVER, DELAWARE 19904
2 WAP = AND ADDRESS OF SMEPLOVER iff Seltensisyed, so State}

 

3. TYE= AND DURATION OF OCCUPATION

SURETY / LIFETIME

5. NAME AND ADDRESS OF INDIVIDUAL SURETY 8RCKER USED MF zzz) 6. TELEPRONE NUMBER
{Number Street. City. Stzte, ZIP Code) : .
HOME £302) 674-2535

DEPOSITORY TRUST COMPANY
55 WATER STREET, NEW YORK, NY 10041-0099 | BUSINESS -
SHE FOLLOWING IS A TRUE REPRESENTATION OF THE ASSETS! FAVE SLEDEED FO THE UNITED STATES IN SUPPOR) OF THE ATTACHED BOND:
fa) Real astete (fncisds a lege! description, street address and other Hlentifying Cosceation; the market velue; fag cestifed d:
including recorded fisn; evidence of tithe end the tax af the property. For ket velue app fh, iso p
see Optional Form 90 RELEASE OF LIEN (attached)
see Optional Form 91 PERSONAL PROPERTY FROM ESCROW (attached)

see Stamdard Form 24 BID BOND (attached) CASE No.: 22-cv-679 (Judge

see Standard Form 25 PERFORMANCE BOND (attached) Young)
FRCP Rule 62 STAY PROCEEDINGS PENDING APPEAL(s) Amount: Two Million USD (2,000,000. 005

{b) Assets other than real esiste (describe the assets, the deteiis of the escrove account, 2nd attach certifred evidence thereof}.

CITY OF PHILADELPHIA COURT CASES: MARCH TERM 2003T0020, T0021,T0022, T0023.

See Attachment of Liens and Payments due for Real Estate Taxes and Water Taxes with

Attorney fees due: ($5,000.00) [Notice: If there are any unknown lien/judgment, they

are to be named and discharged as indicated: Accepted for Value a

SIDENTIEY ALL MORTGAGES. LIENS. JUDGEMENTS. OR ANY OTHER ENCUMBRANCES INVOLVING SUBJECT ASSETS INCLUDING REAL ESTATE TAXES DUE AND

eavastc. LVU020 Real Estate Tax due: $16,072.24(Acct# OPA # 131066400) WATER TAX:$2,030.50
TO021 Real Estate Tax: $20,731.66. WATER: $12,612.60 (Acct

Account # 057-3200-02113-001.

057-88130-3739-001). T0022 R.E.TAX: $18,172.18; WATER: $4,439.63; Acct# 057-88130-03742-

001. T0023: R.E.Tax:$18,600.49. WATER: $4,009.97. Total Due: $99,169.27. ° See attachment
B-IDENTIFY ALL BONDS, INCLUDING SID GUARANTEES, FOR WHICH THE SUBJECT ASSETS HAVE BEEN PLEDGED WITHIN 3 YEARS PRIOR TO THE DATE OF

EXECUTION OF THIS AFFIDAVIT. Standard Form 28, Optional Form 90, Optional Form 91, Standard Form
24, Standard Form 25, Standard Form 25A . B/C #156-44-328005 (DOB: 07/29/1944) E81761746,

EIN 210342201, UCC 1 #2009 0491016, F57739507.

() > DOCUMENTATION OF THE PLEDGED ASSES QHUST BE ATF ACHES.
71 EONS AND CONTRACT 70 WHICH THis AFRDAVIT RELATES (iVhere

gg Pe pry~ appropeste) £81761746, F57739507, UCC 1 #
th un op. LZ , 2009 0491016,0p. F. 90,91,ST.F. 24,25 ,25Kh
ea S FGLLOWS:

CLERK OF COURT, U.S DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

 

 

 

 

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 5 of 84

RELEASE OF LIEN ON REAL PROPERTY

Whereas JAMES (NMN) COPPEDGE ot B/C 2: 156-44-328005 | by a bond
(Name) (Place of Residence)
for the performance of U.S. Government Contract Number  _210-34-2201 ,

became a surety for the complete and successful performance of said contract, which bond
inicudes a lien upon certain real property further described hereafter, and

 

Whereas said surety established the said lien upon the following property

see Standard Form 28 AFFIDAVIT OF INDIVIDUAL SURETY (attached)

see Optional Form 91 RELEASE OF PERSONAL PROPERTY FROM ESCROW (attached)

see Standard Form 24 BID BOND (attached)

gee Standard Form 25 PERFORMANCE BOND (attached) CASE No.: 22-cv-679 (Judge
see Standard Form 25A PAYMENT BOND (attached) Young)

March Term 2003T0020, T0021, .T0022, TOO23 (see Decreeds (attachec

and recorded this pledge on
(Name of Land Records}

 

 

 

 

in the PHILADELPHIA COUNTY __- of _ PENNSYLVANIA [19140] — :
(Locality) (State)

and

Whereas, |, 22mes (nmn) Coppedge, Family of Coppedge , being a duly

 

authorized representative of the United States Government as a warranted coniracting
officer, have determined that the lien is no longer required io ensure further performance oT
the said Government contract or satisfaction of claims arising therefrom,

and

Whereas the surety remains liable to the United States Government for continued
performance of the said Government contract and satisfaction of claims pertaining thereto.

Now, therefore, this agreement witnesseth that the Government hereby releases the

aforementioned lien.

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—TAMES COPPEDGE ___ APPEARED PTIONAL FORM 9C(REV. 129

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A NOTARY PUBLIC FOR THE STATE OF DELAWARE,

COUNTY OF KENT. (Ss

 

  

CB- oF - 2023
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 6 of 84

RELEASE OF PERSONAL PROPERTY FROM ESCROW

 

 

Whereas JAMES (NMN) COPPEDGE » O _p/c_ #156-44-328005 , by a bond
(Name) (Place of Residence)
for the performance of U.S. Government Contract Number XXX-XX-XXXX 1

 

pecame a surety for the complete and successful performance of said contract, and Whereas said
surety has placed certain personal property in escrow

in Account Number CASE No.: 22-cv-679 (Judge Young) on deposk

ai CLERK OF COURT, U.S. DISTRICT CT FOR THE EASTERN DISTRICT QF PA
(Name of Financial Institution)

located at 601 MARKET ST, Room 2609, PHILADELPHIA, PA 19106-1797 . ane
(Address of Financial institution)

Whereas |, james (nmn) Coppedge, family of coppedge , being a duly authorized

representative of the United Siates government as a warranted contracting officer, have determined
that retention in escrow of ihe following property is no longer required to ensure further performance

of the said Government coniract or satisfaction of claims arising theretrom:

see Standard Form 28 AFFIDAVIT OF INDIVIDUAL SURETY (attached)
see Optional Form 90 RELEASE OF LIEN (attached)

see Standard Form 24 BID BOND (attached)

see Standard Form 25 PERFORMANCE BOND (attached)

see Standard Form 25A PAYMENT BOND (attached)

and

\Whereas the surety remains liable to ihe United States Government for the continued performance
ithe said Government contract and satisfaction of claims periaining thereto.

Now, therefore, this agreement witnesseth that ihe Governmeni herevy releases from escrow ihe
oroperty listed-above, and directs the custodian of the aforementioned escrow account io deliver ihe
listed property to the surety. if the listed property comprises the whole of the property placed in
escrow in the aforementioned escrow account, the Government further directs the custodian to close
the account and to return all property therein io the surety, along with any interest accruing which
remains after the deduction of any fees lawfully owed to

COURT OF COURT, U.S. DISTRICT COURT FOR THE EASTERN DISTRICT OF PA
(Name of Financial institution)

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A NOTARY PUBLIC FOR THE STATE a LA\ Cag

FR. 70-9792

 
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 7 of 84

 

 

A : lust not be later than bid
BID BOND pening date) OMB NO.; 9000-0045
(See instruction on reverse) , 07/29/1944

 

 

 

 

Public reporting burden for this collection of information is estimated to average 25 minutes per response, including the time for reviewing instructions, searching existing data

sources, gathering and maintaining the data © ded, and feting an iewing cotfecti inf ion. Send comments regarding this burden estimate or any other

— of this collection of information, including suggestions for reducing this burden, to the FAR Secretariat (MVR), Federal Acquisition Policy Division, GSA, Washington, DC
405.

 

 

PRINCIPAL OTAy name (NMI) C address) one,
AMES 1) COPPEDGE
INDIVID ARTNERSHI
PARKERS RUN Ee) omuat Oe z
52 BARKLEY CT Cl] JOINT VENTURE Cl CORPORATION
|
DOVER, DELAWARE 19904 STATE OF INCORPORATION
B/G# 156-44-328005 NY

 

SURETVUESH Migieg “(NT ‘COBPEDGE
DIC
55 WATER STREET, NY, NY 10041

 

 

 

er

PENAL SUM OF BOND BID IDENTIFICATION

ap AMOUNT NOT TO EXCEED BID DATE INVITATION NO

cme wOLLIONT=) THOUSANDIS) =~ [HUNDRED(S) | CENTS 02/15/2022 ‘ “CASE No.: 22-cv-679(Judge Young) _

 

 

FOR (Construction,
Supplies,or Services)

 

 

 

 

 

 

We, the Principal and Suretylies) are firmly bound to the United States of America (hereinafter called the Government) in the above penal sum. For
payment of the penal sum, we bind ourselves, our heirs, executors, administrators, and successors, jointly and severally. However, where the
Sureties are corporations acting as co-sureties, we, the Sureties, bind ourselves in such sum “jointly and severally” as well as "severally" only for the
purpose of allowing a joint action or actions against any or all of us. For all other purposes, each Surety binds itself, jointly and severally with the
Principal, for the payment of the sum shown oppasite the name of the Surety. If no limit of liability is indicated, the limit of liability is the full amount

of the penal sum.
CONDITIONS:
The Principal-has submitted the bid identified above.

THEREFORE:

The above obligation is void if the Principal - (a) upon acceptance by the Government of the bid identified above, within the period specified therein for
acceptance (sixty (60) days if no period is specified), executes the further contractual documents and gives the bond(s) required by the terms of the
bid as accepted within the time s ified (ten (10) days if no period is specified) after receipt of the forms by the principal; or (b) in the event of failure
to execute eu) nether contractual documents and give such bonds, pays the Govemment for any cost of procuring the work which exceeds the
amount of the bid.

Each Surety executing this instrument agrees that its obligation is not impaired by any extension(s) of the time for acceptance of the bid that the
Principal may grant to the Government. Notice to the surety(ies) of extension(s) are waived. However, waiver of the notice applies only to extensions
aggregating not more than sixty (60) calendar days in addition to the period originally allowed for acceptance of the bid.

 

 

    
  
 

 

 

WITNESS:
The Principal and Surety(ies) executed this bid bond and affixed their seals on the above date.
PRINCIPAL
, 2. 3
4 VIZ S Ce PA £dce
(Seal) {Seal} (Seal Corporate
NAME(S) 2. 3. Seal
TITLE(S)
(Typeo]

 

 

 

 

 

INDIVIDUAL SURETY(IES)

 

 

 

 

 
 
   

>
SZ ULF uA LLAMA (Seal) 4 (Seal)
2 i hs Yh, Y y 2s %
“James Coppedge, Authorized Agent ’
Hee CORPORATE SURETY(IES)
STATE OF INC. [LIABILITY LIMIT (5)

 

 

RE, CO. NO CLAUAMLE
, Corporate

— ae a _ Seal

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JOTART —_—— gut Masti —
Se tat Zr STANDARD FORM 24 (REV. 10-98)
eee: fp PME COR CO GE __ APPEARED _Prescribed by G8A~- FAR (48 CFR) 63.228(0)

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O%- OP~- LOYA an notwry PUBLIC FOR THE STATE OF DELAWARE,
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 8 of 84

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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INSTRUCTIONS

1. This form is authorized for use when a bid guaranty is required. Any deviation from this form will require the written approval of the
Administrator of General Services.

2. Insert the full legal name and business address of the Principal in the space designated "Principal” on the face of the form. An authorized

person shall sign the bond. Any person signing in a representative capacity (e.g., an attomney-in-fact) must furnish evidence of authority if that
representative is not a member of the firm, partnership, Or joint venture, or an officer of the corporation involved.

3. The bond may express penal sum as a percentage of the bid price. In these cases, the bond may state a maximum dollar limitation (e.g.,
(e.g., 20% of the bid price but the amount not to exceed dollars).

4. (a) Corporations executing the bond as sureties must appear on the Department of the Treasury's list of approved sureties and must act
within the limitation listed therein. where more than one corporate surety is involved, their names and addresses shall appear in the spaces

(Surety A, Surety B, etc.) headed "CORPORATE SURETY(IES).” In the space designed "SURETY(IES)" on the face of the form, insert only
the letter identification of the sureties.

(b) Where individual sureties are involved, a completed Affidavit of Individual surety (Standard Form 28), for each individual surety, shall
accompany the bond. The Government may require the surety to furnish additional substantiating informatian canceming its financial

capability.

5. Corporations executing the bond shall affix their corporate seals. Individuals shall execute the bond opposite the word "Corporate Seal";
and shall affix an adhesive seal if executed in Maine, New Hampshire, or any other jurisdiction requiring adhesive seals.

6. Type the name and title of each person signing this bond in the space provided.

7. (nits application to negotiated contracts, the terms “bid” and "bidder" shall include "proposal" and "offeror."

 

———————————————L—_— EEE
STANDARD FORM 24 (REV. 10-98) BACK
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 9 of 84

 

 

; ‘OMB No.:
(See instractions on reverse} --07/29/1944 .

 

 

 

 

 

 

 

JAMES (NMM) COPPEDGE [4 eowua [CI parmensHip
PARKERS RUN
52 BARKLEY COURT [ ] somer venTuRE i ] conronaTion
DOVER, DELAWARE 19904 STATE OF INCORPORATION
NEW YORK - B/C BOND NO: 156-44-328005
PENAL SUM OF BOND ~~
CENTS

 

 

 

 

SURETYUES) (amets/ and Gusivess actdressfest
MILLIONES) PTHOUSANDSS) [ee

 

 

JAMES (NMN) COPPEDGE

DEPOSITORY TRUST COMPANY CONTRACT DATE [CONTRACT NO.

55 WATER STREET - CASE No.: 22-cv-679 .
2

NEW YORK, NEW YORK 100 a (JMY) :

 

 

 

purpose of allowing jomt actions against or afi of us. For all other purposes, each Surety binds 3

purpose of slowing 2 Fm Pct ‘sum shown opposte the name of the Surety Nae eer of kability is indicated, the limit of Habéiy is the full amount
of the panal sum,

CONDITIONS:

The Principal has entered into the contract identified above.

THEREFORE:
‘The above obligation is void if the Principal -
all the undertakings, covenants, terms, conditions, of the contract during the original term of the
granted Pee ent, with or without notice to the SuretyGes), and during the life of any amor
fulfdis all the undertakings. , terms conditions, and of any and afl duly

    

arnount of the taxes imposed by the Government, if the said contract is subject to the Miler et S.C.
OO Of oe wuages peid by the Principal in carrying out the construction contract with reapers "

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
  
 
 

 

 

performance bond and affixed their seals on the above date.
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INDIVIDUAL SURETYMES)
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CORPORATE SURETY(IES) a
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COUNTY OF KENT.
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 10 of 84

 

CORPORATE SURETY (ES) (Continued)

 

NAME &
ADDRESS

STATE OF INC

 

 

 

SURETY B
g

 

STATE OF INC

 

 

 

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NAME &

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TOTAL (3:

 

 

 

INSTRUCTIONS

1 This form is authorized for use in connecnon wh Governmen
contracts. Any dewation from ths form wall require the written
approval of the Administrator of General Sennoes

2 insert the full legal name and business address o! the Panapai
the space designated “Princpalr on me face of the form An
authorized person shail sign the bond Any person signing tn a
represemative capacity (e.9.. an attommey-in-fact) musi furnish
evidence of aughority @ that representative cs nol a member of the frm
partnership. or jo verdure. or an offver of me Comporazson meolvea

3 (a) Corporations executing the bond as surenes must appear on
the Department of the Treasury's hist oft approved sureties and must
act within the limitation ksted therem. Where more than one corporate
surety is involved, their names and addresses shail appear in the
spaces (Surety A. Surety B. etc ) headed “CORPORATE

SURE TY(VIES) ~ in ne space depignated “SURETY(IES) on th
face of the form, msem only the leer idemiScahon of the sureves

(a) Where andaaduat sureses are involved. 2 completed Afbdav
of indandual Suresy Surety (Standard Form 28) for each individual suret
shal accompany the bond The Govelrsgent may require the sure
10 furnish addimonal substantiating information concerning thei
fnancal capabthty

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indarduais shal execute the bond opposite the words “Comora
Seer and shail affoc an actheswe sea! if executed in Mame. New
Hampshire or any other suinsdichon requrmg adheswe seals.

5 Type me name and tile of eacn person sigmng this bond in tt
space provided

 

STANDARD FORM 25 (REV. 3/2013) 64
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 11 of 84

 

 

[DATE BOND EXECUTED (idust be same or later than cate of

PAYMENT BOND 07/29/1944 OMB No.:9000-0045

(See instructions on reverse)

 

 

 

 

SRECTSOSTING BIEN Tor TAS COIGGION oT TrfernaRon Te alsa w average 25 Testes per Tesponse, including the ume Tor reviewing mstuctions. Searching Sas Ge
saurces, gathering and maintaining the data r ded, and pleting and reviewing the coll ion of inf i Send regarding this burden estimate or any ather
eres a ere cian of formation, mcudng suggestions for reducing this burden, ta the FAR Secretariat (MVR), Federal Acquisition Policy Divison, GSA. Weslingtin.
DC 20405

PRINCIPAL (Legal name and business address) - TYPE OF ORGANIZATION /°X™ one}

JAMES (NMN) COPPEDGE
52 BARKLEY COURT Ss [7] parrmerstas

DOVER, DELAWARE 19904

 

 

 

JOINT VENTURE | CORPORATION
STATE OF INCORPORATION

NEW YORK —- B/C#156-44-328005

 

 

 

 

 

 

 

 

 

SURETYIIES) (Namets) and business address(es) PENAL SUM OF BOND
JAMES (NMN) COPPEDGE MILLION(S} THOUSANDI(S) |HUNDRED(S)
DEPOSITORY TRUST COMPANY
55 WATER STREET CONTRACT DATE CONTRACT NO.
NEW YORK, NEW YORK 10041-0099 02/15/2022 CASE No.: 22-cv-679
(JMY)
OBLIGATION:

We, the Principal and Suretylies), are firmly bound to the United States of America (hereinafter called the Government) in the above penal sum. For
payment of the penal sum, we bind ourselves, our heirs, executors, administrators, and successors, jointly and severally. However, where the
Sureties are corporations acting as co-sureties, we, the Sureties, bind ourselves in such sum “jointly and severally" as well as “severally” only for the
purpose of allowing a joint action or actions against any or all of us. ‘For all other purposes, each Surety binds itself, jointly and severally with the
Principal, for the payment of the sum shown opposite the name of the Surety. If no limit of liability is indicated, the limit of liability is the full amount
of the penal sum.

CONDITIONS:

The above obligation is void if the Principal promptly makes payment to all persons having a direct relationship with the Principal or a subcontractor of
the Principal for furnishing labor, material or both in the prosecution of the work provided for in the contract identified above, and any authorized
modifications of the contract that subsequently are made. Notice of those modifications to the Suretylies) are waived.

WITNESS:

The Principal and Surety(ies) executed this payment bond and affixed their seals on the above date.

 

 

 

 
 
  
   
  
 

 

 

 

 

 

 

 
      

 

 

 
 

 

 

 

 

 

 

 

  
  

 

 

 

   
 

 
 
   

 

 

   
    
 
 

 

 

 

PRINCIPAL
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CORPORATE SURETY(IES)
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CTTW A NOTARY PUBLIC FOR THE STATE OF DELAWARE,

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 12 of 84

 

CORPORATE SURETYI(IES) (Continued)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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INSTRUCTIONS

1. This form, for the protection of persons supplying labor and material, is
used when a payment bond is required under the Act of August 24, 1935,
AQ Stat. 793 (40 U.S.C. 270a-270e}. Any deviation from this form will
require the written approval of the Administrator of General Services.

2. Insert the full legal name and business address of the Principal in the
space designated “Principal” on the face of the form. An authonzed
person shall sign the bond. Any person signing in a representative
Capacity (e.g., an attomey-in-fact) must furnish evidence of authority if
that representative is not a member of the firm, partnership, ar joint
venture, or an officer of the corporation involved.

3. (a) Corporations executing the bond as sureties must appear on the
Department of the Treasury's list of approved sureties and must act
within the limitation listed therein. Where more than one corporate surety
is involved, their names and addresses shall appear in the spaces (Surety
A, Surety B, etc.) headed "CORPORATE SURETY(IES)." In the space

designated “SURETY(IES)" on the face of the form, insert only the let
identification of the ‘sureties.

(b) Where individual sureties are involved, a completed Affidavit
Individual Surety (Standard Form 28) for each individual surety, st
accompany the bond. The Govemment may require the surety

4. Corporations executing the bond shall affix their corporate seal
Individuals shall execute the bond opposite the word “Corporate Sez
and shall affix an adhesive seal if executed in Maine, New Hampshi
or any other jurisdiction requiring adhesive seals.

5. Type the name and title of each person signing this bond in *
space provided.

 

 

STANDARD FORM 25A irev.10-98) BAC
 

Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 13 of 84

BILL ATTACHMENTS
-REAL ESTATE TAX
«WATER TAX
 

Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 14 of 84

(//beta.phila.gov)

Reg! Estate Tax Balance Search

During tax season, the site occasionally experiences high volume impacting usage. If you are unable
to obtain your balance, please try again in a few minutes.

 

4739 NI8TH ST 131045900 gag

PHILADELPHIA, PA 19140-3532 eee
OPA # 131245800

@ Property Information

Balance Due

DAYMEN] PRINT PAYMENT
$20,731.66 PAY NOW PLANS COUPON
Includes Payments Or pay by phone Need help with your
Through: 02/23/2022 (877) 309-3710. bill? We offer

payment options and
assistance plans. .

 

OPA Account # 131245800

OPA Address 3739 N 18TH ST -
Owner COPPEDGE JAMES °

Assessed Value $72,900.00

Sale Date 01/14/1988 ”

Sale Price $9,250.00

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 15 of 84

 

CITY OF PHILADELPHIA COURT OF COMMON PLEAS
VS. C.P.
James Coppedge
RULE
AND NOW, this _ day of ,2020 , upon consideration of within Petition, this Court .

hereby grants a Rule (or notice) upon the above named respondent to show cause why a
Decree should not be entered permitting the SALE of the following premises,

15'2" x 91' 10" 3739 North 18th Street,

As fully described in the Tax Information Certificate,
by the Sheriff of Philadelphia County because of delinquent real estate taxes.

Service and notice of this Rule shall be made in the manner provided in the Act of
Assembly of May 16, 1923, P.L. 207, and the amendments thereto, and as required by Act
135 of 1992, December 14, 1992, as amended, for notice of Rules to show cause, and to be
returnable fifteen days after such service.

The said Rule is returnable (i.c., an Answer must be filed) within fifteen (15) days of
service or a Rule Absolute may be entered i.e., the property may be immediately

_ SCHEDULED FOR SHERIFF'S SALE.

BY THE COURT:

 

Case ID: 2003T0021 ©
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 16 of 84

ATTACHED TO AND FORMING A PART OF TAX INFORMATION CERTIFICATE
Order Number: LTS3946879
Client Number: 138151

FRONTAGE: 15' 2" x 91' 10"
LEGAL DESCRIPTION:

ALL THAT CERTAIN lot or piece of ground with the buildings and improvements thereon erected,
described according to a Survey and Plan thereof made by H. M. Fuller, Esquire, Surveyor and Regulator
of the 13th Survey District of the Gily of Phila., on the 27th day of November A.D. 1908, as follows, to
wit:

SITUATE on the East side of 18th St. at the distance of 286 feet 10 inches Northward from the North side
of Erie Ave. in the 13th Ward of the City of Phila.

CONTAINING in front or breadth on the’said 18th St. 15 feet 2 inches and extending of that width in
length or depth Eastward between parallel lines at right angles to the said 18th St. 91 feet 10 inches to a
certain 3 feet wide alley which extends Southward from Butler St. and-communicates at its Southernmost
end with a certain other alley 4 feet wide which extends East and Westward from the said 18th St. to
Bouvier St.

TOGETHER with the free and common use right heise and privilege of the aforesaid alleys as and for
passageways and watercourses at all times hereafter forever.

BEING NO. 3739 N. 18th St.

BEING THE SAME PREMISES VESTED IN James Coppedge, by Deed from Helen M. Webb,
administratix of the estate of Mary Mickens, deceased, dated 01/15/1988, recorded 01/21/1988 in Book:
FHS 979, Page 425.

Case ID: 2003T0021
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 17 of 84

(//beta.phila.gov)

Real Estate Tax Balance Search

During tax season, the site occasionally experiences high volume impacting usage. If you are unable
to obtain your balance, please try again in a few minutes.

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PHILADELPHIA, PA 19140-3533
OPA # 131253200

 

 

 

 

@® Property Information

Balance Due
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Includes Payments Or pay by phone Need help with your

Through: 02/23/2022 (877) 309-3710. bill? We offer
payment options and
assistance plans.

 

OPA Account # 131253200

OPA Address 3742 N 18TH ST
Owner COPPEDGE JAMES
Assessed Value $103,200.00
Sale Date 06/28/1995

Sale Price $17,500.00

Lien Sale Account

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 18 of 84

(//beta.phila.gov)

Real Estate Tax Balance Search

During tax season, the site occasionally experiences high volume impacting usage. If you are unable
to obtain your balance, please try again in a few minutes.

 

 

 

 

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PHILADELPHIA, PA 19140-3930
OPA # 131066400
@& Property Information
Balance Due
PAYMENT PRINT PAYMENT
£16,072.24 PAY NOW PLANS COUPON
Includes Payments Or pay by phone Need help with your
Through: 02/23/2022 (877) 309-3710. bill? We offer

payment options and
assistance plans.

 

OPA Account # 131066400

OPA Address 2113 W ERIE AVE
Owner COPPEDGE JAMES
Assessed Value $61,600.00

Sale Date 01/30/2005

Sale Price $26,000.00

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 19 of 84

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Real Estate Tax Balance Searcn

During tax season, the site occasionally experiences high volume impacting usage. If you are unable
to obtain your balance, please try again in a few minutes.

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OPA # 131294700

 

 

 

 

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PAYMENT PRINT PAYMENT
€18,600.49 PAY NOW PLANS COUPON
Includes Payments Or pay by phone Need help with your
Through: 02/28/2022 (877) 309-3710. bill? We offer

payment options and
assistance plans.

 

OPA Account # 131294700
og

OPA Address 3637 N 21ST ST ok

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Owner COPPEDGE JAMES yom )w
Assessed Value $88,700.00
Sale Date 01/23/2007
Sale Price $1.00

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 21 of 84

 

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 23 of 84

CITY OF PHILADELPHIA

BEPenIMENT OF REVENUE

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PO BOX 148
PHILA PA 19105-0148

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JAMES COPPEDGE
PO BOX 4482

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PHILADELPHIA PA 19140-0482

JANUARY 14, 2022
SSN: XXX-XX-2201

Phone: (215) 686-6442 c
Property: 2113 W ERIE AVE *

 
  
 

REAL ESTATE TAX BILL “

Includes payments. posted through. JANUARY 13, 2022. |
This is your Real Estate Tax bill for this account. You must pay your bill imm

- Interest, penalty, and/or additional costs have been added:to your bill since the original due date. If you
do not:pay. your bill: by ‘the payment: due date below, the amount you owe will continue to increase. Only
payment in full or a payment agreement will. prevent enforcement action against you and your. property.

- This: bill may. not represent your total Real Estate taxes due.

. The fastest and easiest way to look up your updated account

-..., balance-and to-pay. is to. go online at www.phila.gov/revenue.
Paying by eCheck is FREE. ;

 

 

 

 

 

 

BRT Tax Due Additions/ Total Amount:

Number Period. - Balance Interest Penalty Charges Due
131066400} 2012 0.00 0.00 0.00 1,383.16 1,383.16
131066400] © 2012 161.96 294.86] ~ 46.34]° 8.1.39 584.55
131066400}. 20.13 686.78 ].. 504.78]. . . 48.07]. .......95.58 1,335.21
131066400} 2014 910.73 587.42 63.75 185.62 1,747.52
131066400} 2015 910.73 505.45 63.75 180.70 1,660.63
131066400] 2017 951.37 356.77 66.60 179.42 1,554.16
131066400} 2018 951.37 271.15 66.60 174.28 1,463.40
131066400] 2019 959.42 187.09 67.16 169.76 1,383.43
131066400] 2020 952.82 100.05 66.70 164.11 1,283.68
131066400] 2021 991.62 14.87 9.92 157.92 1,174.33

Total 7,476.80 2,822.44 498.89 2,771.94 13,570.07

 

 

 

 

 

 

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CA wo. 2U-E W674

 

PAYMENT DUE: $13,570.07
ON OR BEFORE: FEBRUARY 08, 2022
AMOUNT ENCLOSED: /3, &7o:u7

 

 

 

 

 

NOTICE #: 0114736220114
JAMES COPPEDGE
SSN: XXX-XX-2201

MAKE CHECKS PAYABLE TO:
CITY OF PHILADELPHIA

DEPARTMENT OF REVENUE
P.O. BOX 148 \
PHILA, PA 19105-0148

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 24 of 84

CITY OF PHILADELPHIA
DEPARTMENT OF REVENUE
WATER REVENUE BUREAU

x City of
S2 Philadelphia

 

 

 

 

 

 

 

 
  
 
   

 

 

 

 

 

 

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Water/Sewer & Stormwater Bill °°". |
www.phila.gov/revenue
Please pay $2,018.74 (215) 685-6300 Monday-Friday, 8am-Spm
~_ st !
Customer Name: JAMES COPPEDGE ) 087-32000-02113-001
Service Address: 2113 W Erie Ave, Philadelphia PA 19140 ce
ieee 7130905086045
L Bill Date: January 26, 2022 (Bill Period: Dec 22, 20s nepal 25, 202 Paymgnts Through: January 26,2022 _)
yt * \
v y
Your Account (0 fe rae Bankruptcy
Water/Sewer/Stormwater balance at gf $1 964.43 | Py { Ons bill does not reflect the full account balance due to an
Nawayman een ater ey py active bankruptcy case. This notice is not, nor is it intended
o\payment receive Si “6 ‘ to be, an effort to collect any debt subject to the
Unpaid Balance K Ve wee $1,964°43 bankruptcy proceedings.
oer (ry ve Possible payment delays
This Bill v k We're upgrading to a new payment system. As a result,
Usage Charge (1 ccf, see below for details) $8.04 your payment may post later than normal. This delay is
nuckencnsnavinranmenns HReRAS HER SSSRS ESE HESS as aa oaeanaticoniiateis name mnmnminrns mss a temporary. We will credit your account with the correct
Service Charge belt tl neers eenerecacec equator meet tial $12.10 balance. You don't need to take action.
St ter Ch 6.
—— cose ane bo ecc ces eec eee ee sec esceceee estes tec eseese sees ses eee esses 916.58 Past Due Balance
Senior Citizen Discount $0.00 When your water bill is past due, your service is subject to
Total Current Charges $37.00 shut-off. To avoid shut-off, pay your balance in full at one
- of our payment centers in the city. Payment information
Late payment penalty $17.31 can be found on the back.
Total Account Balance $2,018.74
Please Pay Now $2,018.74 See back for more information and contact details >
\ )
Your Water Usa ge If property was occupied during Zero Risers Tea please call (215) 686-6880
Meter Readings Usage History (ccf) Bi Actual [asus sina Bein] Estimate
Meter: 0348769 ERT: 0029665540 Service: 41R
January 25,2022 actualreadng 1946
December 22, 2021 actual reading 1945
Total CCFs used 4 oo o 0 2
L Approximate gallons used per day 22 gan | Feb | Mar| Apr |May| Ty a aa Teen Oct at Dec ah |

 

 

Paying by mail? Mow cy JhDE
Send this coupon with your payment.
See ee for other ways to pay >

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S COPPEDGE
8TH ST
ADELPHIA PA 19140-3533

  
 

Account Number ¢
057-32000-02113-001

 

Please pay _ $2,018.74
Late payment penalty £ ice Acs laemntn $11.76
Total amount due if paid dfter eb 25, 2022 $2,030.50

CITY OF PHILADELPHIA
DEPARTMENT OF REVENUE
WATER REVENUE BUREAU

333720225220000320000211300110000203050000020187405700001L00000000005
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 25 of 84

@ Have a water emergency? Call (215) 685-6300 anytime.

HOW TO PAY YOUR BILL
CJ online - visit www.phila.gov/waterbill

== AutoPay - Sign up for free automated
monthly payments from your checking
or savings account:
www. phila.gov/waterbill

s
\ Phone - call (877) 309-3709

D4 Mail - Mail your check or money
order, include your account number,
make payable to “City of Philadelphia”

P.O. Box 41496
Philadelphia, PA 19101-1496

& In person - Visit one of our payment
centers Monday - Friday, 8:30am - 5pm

Cash, check, or money order accepted:
Municipal Services Building
1401 JFK Blvd, Concourse Level

Check or money order only:
Northeast Philadelphia
7522 Castor Avenue &
&.
North Philadelphia, Hope Plaza
22nd & Somerset Streets 66 :
If your service is screagh 1
payment MUST be madé afte
days before the schedul&t.sht

   
  

Pay on time
If we do not receive your payment within
30 days of the date of this bill, we will add
a 5% charge. For each additional month
another 0.5% will be addéd.

Struggling to pay your water bill?
Apply now for the Tiered Assistance Program
(TAP). Visit www.phila.gov/water-bill-help
or call (215) 685-6300 for an application.

Are you a senior citizen?
Call us at (215) 685-6300 to find out if you
qualify for a 25% discount.

Think your bill is inaccurate?

If you think your bill is inaccurate, you have
the right to appeal. The first step is to call
the Water Revenue Bureau (WRB) at

(215) 685-6300 within 30 days of this bill
to have it reviewed. If you are not satisfied
after contacting WRB customer service,

and receiving a written decision, you may
request an Informal Hearing (IH) within 30
days of the decision. You may appeal the
IH decision to the Tax Review Board (TRB)
within 60 days of the decision by mailing
a completed appeal form to the TRB. Call
(215) 686-5216 to obtain the appeal form
or visit
www.phila.gov/trb/TRB_Petitions.html.

C®

    
  

You also have the right to appeal directly
to the TRB within 60 days of this bill
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Service charge
This covers:

* Billing and collection of water and
wastewater services

* Metering
* Pollution prevention services

Repairs and other charges
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* Meter replacements
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* HELP loans
(~ PHILADELPHIA CITY OF PHILADELPHIA )
WATER DEPARTMENT OF REVENUE
WATER REVENUE BUREAU
— DEPARTMENT—
WHO WE ARE

Philadelphia Water Department

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providing integrated water, wastewater,
and stormwater services. We are proud
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Bureau, which provides all billing and
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For information about water service visit
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| @PhillyH20 and @PhilaRevenue
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Philadelphia Water Revenue Bureau

The Philadelphia Water Revenue

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i) Email wrbhelpdesk@phila.gov :

 

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CITY OF PHILADELPHIA City of
DEPARTMENT OF REVENUE Ph il d [ h °
WATER REVENUE BUREAU S= Fnitadeipnia
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a i 9
Water/Sewer & Stormwater Bill = “°*°"*’
www.phila.gov/revenue
8 Please pay $3,980.49 (215) 685-6300 Monday-Friday, 8am-5pm
= Customer Name: COPPEDGE JAMES ETAL Account Number: 057-88190-03637-001
w ‘ . ‘ : Water Access Code: 000537255
2 Setvige Address: 3637 N Plath Pletal PA 19140 Bill Number: B0906055789
= Bill Date: January 26, 2022 (Bill Period: Dec 22, 2021 - Jan 25, 2022) Includes Payments Through: January 26,2022 _)
5 lg 3 %
2 Your Account 4 Possible payment delays* *
Db Water/Sewer/Stormwater balance at last bill We're upgrading to a new payment system, As a result,
2 ieeenttaeitecae aaa RR ry an your payment may Pp ‘er than nor, al’ his delay is
No payment receive bee temporary. rad é with the correct
Unpaid Balance ws Vv ~$3,634.85 balance. Yo teitake action. a
LY = a 5 ‘ ae jr —
This Bill “1, Ke Mw c bile ge Aa rvice is subject t
S © enyo c pa ur Servic subject to
Usage Charge 23 cet, s0e blob fot eigis) 8188378 shutoff Toe ioe i si your balance in full at one
Service Charge ¢ A $12.10 of our payty s inthe city. Payment information
a aM Na SAREE Ce RTE RECITAL RARE ERT AAR RARE AER ERS SOS STSSSTSSSSSESS HESS See SESS es Se SS can b
Stormwater Charge $16.86 7
he Be ea Payment Types
Senior Cheeni eeount 90.08 Pay by phone (877) 309-3709; credit card or e-check at
Total Current Charges $212.74 www. phila.gov. Select water bill from pay menu options.
Late payment penalty $41.45
i 91.
Lien: Fee $91.45 See back for more information and contact details >
Total Account Balance $3,980.49
Please Pay Now $3,980.49
Xe af
( >)
Your Water Usage
Meter Readings i Usage History (ccf) Bi Actual Reading Estimate
26
Meter: 0506831 ERT: 0028664801 Service: 41R 24 23
January 25,2022  actualreadng = = ‘| 919
December 22, 2021 actual reading 896
Total CCFs used 23
Approximate gallons used per day 506

 

 

 

 

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[| f iN Paying by mail? Account Number [4]
, \ Send this coupon with your payment. 057-88190-03637-001
at Ad vam Mew See back for other ways to pay >

 

Please pay ) $3,980.49

Late paymen maa $29.48

QGP 2 === ~~ ny) Pe nnn nent
we e if paid after Feb 25, 2022 $4,009.97

CITY OF PHILADELPHIA
DEPARTMENT OF REVENUE
WATER REVENUE BUREAU

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 27 of 84

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[J online - visit www.phila.gov/waterbill

c= = AutoPay - Sign up for free automated
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\ Phone - call (877) 309-3709
mM

Mail - Mail your check or money
order, include your account number,
make payable to “City of Philadelphia”

P.O. Box 41496
Philadelphia, PA 19101-1496

& In person - Visit one of our payment
centers Monday - Friday, 8:30am - 5pm

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Municipal Services Building
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WATER
— DEPARTMENT—

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CITY OF PHILADELPHIA )
DEPARTMENT OF REVENUE
WATER REVENUE BUREAU

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Email wrbhelpdesk@phila.gov J

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 28 of 84

CITY OF PHILADELPHIA
DEPARTMENT OF REVENUE
WATER REVENUE BUREAU

x City of
S= Philadelphia

 

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Water/Sewer & Stormwater Bill

Please pay $4,409.77

Questions?
www.phila.gov/revenue
(215) 685-6300 Monday-Friday, 8am-5pm

 

Customer Name: JAMES COPPEDGE
Service Address: 3742 N 18th St, Philadelphia PA 19140
Bill Date: January 26, 2022 (Bill Period: Dec 22, 2021 - Jan 21 uae

Account Number: 057-88130-03742-001
Water Access Code: 000530635

Bill Number: BO906054664

Includes Payments Through: January 26, 2022 )

 

 

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Your Account
Water/Sewer/Stormwater balance at last ae > Fee $4, 113.96
Nopaymentreceved ws eo $0.00
Unpaid Balance Pay K oe $4,113.96
This Bill oe
Usage Charge (18 ccf, see below for details) $144.68
Service Charge $12.10
Stormwater Charge $16.86
Senior Citizen Discount $0.00
Total Current Charges $173.64
Late payment penalty $30.72
Lien Fee $91.45
Total Account Balance $4,409.77

Please Pay Now $4,409.77

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Possible payment delays

We're upgrading to a new payment system. As a result,
your payment may post later than normal. This delay is
temporary. We will credit your account with the correct
balance. You don't need to take action.

Payment Types

Pay by phone (877) 309-3709; credit card or e-check at
www.phila.gov. Select water bill from pay menu options.

See back for

 

 

 

Your Water Usage
Meter Readings

Meter: 0518665 ERT: 0020107444 Service: 41R

January 21, 2022 actual reading 2287
December 22, 2021 actual reading 2269
Total CCFs used 18
Approximate gallons used per day 448

Usage History (ccf) Bi Actual Reading Estimate

   

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Jan | Feb | Mar | Apr |May|Jun| Jul |Aug|Sep| Oct |Nov|Dec | Jan
2021 2022 J

 

 

 

 

 

See back for other ways to pay >

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A PHIA PA 19140

Paying by mail? <
Send this coupon with your payment.

 
   
 

Account Number

057-88130-03742-001 Lg Fr;

Please pay

 
   

Late payment penalty

Total amount due if paid after F 25, 2022 $4,439.63

CITY QF: PHILADELPHIA
057 DEPARTMENT OF REVENUE
WATER REVENUE BUREAU

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 29 of 84

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bX

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° HELP loans
a PHILADELPHIA CITY OF PHILADELPHIA
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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 30 of 84

CITY OF PHILADELPHIA
DEPARTMENT OF REVENUE
WATER REVENUE BUREAU

x City of
S= Philadelphia

 

 

 

 

 
  
 
  
  

 

 

 

  
  

 

 

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Water/Sewer & Stormwater Bill = %*s"""°’
www.phila.gov/revenue
Please pay $12,518.00 (215) 685-6300 Monday-Friday, 8am-5pm
Customer Name: COPPEDGE JAMES Account Number: 057-88130-03739-001
f ; , . Water Access Code: 000530632
Service Address: 3739 N teh St, Phiecelpyte PA 19140 Bill Number: 80906054646
Bill Date: January 26, 2022 (Bill Period: Dec 21, 2021 - Jan 21, 2022) Includes Payments Through: January 26,2022 _)
apm >)
Your Account x Active Bankruptcy
Water/Sewer/Stormwater balance at last bill q $11,657.64 This bill does not reflect the full account balance due to an
N ee wi... . Se Se a active bankruptcy case. This notice is not, nor is it intended
0 payment receive Ves ~~ Siz to be, an effort to collect any debt subject to the
Unpaid Balance fe vv v bankruptcy proceedings.
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orn p (or Possible payment delays
This Bill C 4 ee upgrading to a new payment system. As a result,
Usage Charge (88 ccf, see below for details) your payment may post later than normal. This delay is
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Senior Citizen Discount Pay by phone (877) 309-3709; credit card or e-check at
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Late payment penalty Vv $148.94
Total Account Balance _ $12,518.00 See back for more information and contact details >
Please Pay Now $12,518.00
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Your Water Usage
Meter Readings Usage History (ccf) Bl Actual Reading _ Estimate
95
Meter: 0347864 ERT: 0020134381 Service: 41R a i
January 21,2022 actualreading == s/s | <5 <=——S—(« 884 a
December 21, 2021 actual reading 2793 48 ‘
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Total CCFs used 88 BBas
Approximate gallons used per day 2123 ay Feb | Mar | Apr |May/ Jun] Jul |Aug|Sep| Oct |Nov|Dec Jn

 

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Please pay 4“ $12,518.00
Late payment pena yy) Mo $94.60
Total amount due i $12,612.60

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057 DEPARTMENT OF REVENUE
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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 31 of 84

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To protect our waterways, stormwater
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If you have questions about your storm-
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WATER DEPARTMENT OF REVENUE
— DEPARTMENT— WATER REVENUE BUREAU
WHO WE ARE

Philadelphia Water Department

The Philadelphia Water Department
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For information about water service visit
www.phila.gov/water.

 

| @PhillyH20 and @PhilaRevenue

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For information about water revenue
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AA) Email wrbhelpdesk@phila.gov J

 

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CITY OF PHILADELPHIA City of
DEPARTMENT OF REVENUE Phil di [ hi
A. WATER REVENUE BUREAU S= Philadetpnia
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Water/Sewer & Stormwater Bill °°"
www.phila.gov/revenue
g | Please pay $2,018.74 (215) 685-6300 Monday-Friday, 8am-Spm
= Customer Name: JAMES COPPEDGE Account Number: 057-32000-02113-001
B | service Address: 2113 W Erie Ave, Philadelphia PA 19140 Wala aceess ee ae
2 be Bill Date: January 26, 2022 (ai)? Period: Dec 22, 2021 - Jan 25, ghz2) Includes Payments Through: January 26, 2022 )
8 ae A
g Your Account Active Bankruptcy P |
R Water/Sewer/Stormwater balance at last bill $1,964.43 This bill does not reflect the full account balance due to an
“ N aap Wears ‘ pales wed = _ D .. ans nna 0.00 active bankruptcy case. This notice is not, nor is j intended
O Bay mentee ve XK U SS $0. to be, an effort to collectsaity debt subj the
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This Bill <. We're upgradingto.¢ pa me rn Mliarre result,
Usage Charge (1 ccf, see below for details) $8.04 your payment rgay pos ae eth F this delay is
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Stormwater Charge $16.86 past Dokibelan e
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Senior Citizen Discount $0.00 When you ater bill is past due, your service is subject to
Total Current Charges $37.00 shut-off. To.avoid shut-off, pay your balance in full at one
- of our payment centers in the city. Payment information
Late payment penalty $17.31 can be found on the back.
Total Account Balance $2,018.74
Please Pay Now CYA Bree See back for more information and contact details >
\ z
( If ied during zero usage ple I (215 686-6880 )
Your Water Usage property was occupied during zero eee please call (215) 686-
Meter Readings Usage History (ccf) |B actual | Actual Reading — Estimate | [Actual Reading _ Estimate |
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B CA L2-Cv- 679 Total amount due ff paid after Feb 25,2022 $2,030.50
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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 33 of 84

@ Have a water emergency? Call (215) 685-6300 anytime.

HOW TO PAY YOUR BILL
[J online - Visit www. phila.gov/waterbill

== AutoPay - Sign up for free automated
monthly payments from your checking
or savings account:
www.phila.gov/waterbill

\. Phone - call (877) 309-3709
BX)

Mail - Mail your check or money
order, include your account number,
make payable to “City of Philadelphia”

P.O. Box 41496
Philadelphia, PA 19101-1496

& In person - Visit one of our payment
centers Monday - Friday, 8:30am - 5pm

Cash, check, or money order accepted:
Municipal Services Building
1401 JFK Blvd, Concourse Level

Check or money order only:
Northeast Philadelphia
7522 Castor Avenue

North Philadelphia, Hope Plaza
22nd & Somerset Streets

If your service is scheduled for shutoff,
payment MUST be made at least five
days before the scheduled shutoff,

Pay on time

If we do not receive your payment within
30 days of the date of this bill, we will add
a 5% charge. For each additional month
another 0.5% will be added.

Struggling to pay your water bill?
Apply now for the Tiered Assistance Program
(TAP). Visit www.phila.gov/water-bill-help
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Are you a senior citizen?
Call us at (215) 685-6300 to find out if you
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Think your bill is inaccurate?

If you think your bill is inaccurate, you have

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(215) 685-6300 within 30 days of this bill
to have it reviewed. If you are not satisfied
after contacting WRB customer service,
and receiving a written decision, you may
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IH decision to the Tax Review Board (TRB)
within 60 days of the decision by mailing
a completed appeal form to the TRB. Call
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or visit he Oy
www.phila.gov/trb/TRB-Retitions.html.

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You also have the right to appeal directly
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Returned checks

If your check is returned unpaid for
insufficient or uncollected funds, you
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transfer from your account to collect a fee
of $20. The City of Philadelphia, or its
agent, may present your check again to
your bank for payment.

ABOUT THE CHARGES
ON YOUR BILL

Usage charge

This is based on your meter reading.
When we don't have an actual reading
we estimate your usage.

We measure water in cubic feet. A cubic? |
foot equals 7.48 gallons. One “ccf” is 100
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The average household uses five ccf per
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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 34 of 84

CITY OF PHILADELPHIA
DEPARTMENT OF REVENUE
WATER REVENUE BUREAU

x City of
S£ Philadelphia

 

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Please pay $4,409.77

Water/Sewer & Stormwater Bill

Questions?
www.phila.gov/revenue
(215) 685-6300 Monday-Friday, 8am-Spm

 

Customer Name: JAMES COPPEDGE
Service Address: 3742 N 18th St, Philadelphia PA 19140
L Bill Date: January 26, 2022 (Bill Period: Dec 22, 2021 - Jan 21, 2022)

Account Number: 057-88130-03742-001

Water Access Code: 000530635

Bill Number: BO906054664

Includes Payments Through: January 26, 2022 J

 

 

7
Your Account
Water/Sewer/Stormwater balance at last bill

No payment received
Unpaid Balance

This Bill

4
Usage Charge (18 ccf, see below for acpiid
Service Charge C hs # -
Stormwater Charge

Senior Citizen Discount

 

 

 

 

Possible payment delays )
We're upgrading to a new payment system. As a result,
your payment may post later than normal. This delay is
temporary. We will credit your account with the correct

balance. You don't need to take action.
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Payment Types s act «|
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Pay by phone (8 3 Bre or e-che'
www. phila. ee i

     
 

 

 

Total CCFs used 18

 

Approximate gallons used per day

Total Current Charges $173.64

Late payment penalty $30.72

Lien Fee $91.45

Total Account Balance $4,409.77

Please Pay Now $4,409.77

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Your Water Usage

Meter Readings Usage History (ccf) |BActual Reading Estimate

20

Meter: 0518665 ERT: 0020107444 Service: 41R

January 21,2022. actualreadng 2287 10

December 22, 2021 actual reading 2269

 
    

Jan | Feb | Mar| Apr {May/Jun | Jul (Aug |Sep/ Oct |Nov' Dec’ Jan
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See back for other ways to pay >

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 35 of 84

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www.phila.gov/waterbill

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& In person - Visit one of our payment
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Returned checks

If your check is returned unpaid for
insufficient or uncollected funds, you
authorize the City of Philadelphia, or its
agent, to make a one-time electronic fund
transfer from your account to collect a fee
of $20. The City of Philadelphia, or its

agent, may present your check again to os

your bank for payment. ¥

ABOUT THE CHARGES
ON YOUR BILL

Usage charge

This is based on your meter
When we don’t have an actual
we estimate your usage.

We measure water in cubic feetA
foot equals 7.48 gallons. One “ccf”
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The average household uses fiye ccf per
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Case 2:22-cv-00679-JMY Document 4

CITY OF PHILADELPHIA
DEPARTMENT OF REVENUE
WATER REVENUE BUREAU

Filed 03/10/22 Page 36 of 84

City of

& Philadelphia

 

E
Water/Sewer & Stormwater Bill

Please pay $3,980.49

 

Customer Name: COPPEDGE JAMES ETAL
Service Address: 3637 N 21st St, Philadelphia PA 19140

Questions? )
www.phila.gov/revenue
(215) 685-6300 Monday-Friday, 8am-Spm

count Number: 057-88190-03637-001
ter Access Code: 000537255
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Usage Charge (23 ccf, see below for details)

 

 

 

Bill Date: J 26, 2022 (Bill Period: Dec 22, 2021 - Jan 25, 2022) Number: Bue oreoray
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a a: (1 Includes Payments Through: January 26, 2022
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( “A >)
Your Account S we 1 4 Possible payment delays
Water/Sewer/Stormwater balance at last bill MA ee 3.934. We're upgrading to a new payment system. As a result,
No paym ent oa od Ee ale 4h a Oo “$0. 00 your payment may post later than normal. This delay is
o‘Peymentrecens p om , $0. | temporary. We will credit your account with the correct
Unpaid Balance "2 Y $3,634.85 7 Palance. You don't need to take action.
3 /
This Bill C fs oe al Past Due Balance

 

When your water bill is past due, your service is subject to
shut-off, To avoid shut-off, pay your balance in full at one
of our payment centers in the city. Payment information
can be found on the back.

 

 

 

Paying by mail? 2

Send this coupon with your payment.
See back for other ways to pay >

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Stormwater Charge

Gan Tia nine)!!! ty Payment Types

Senior Citizen Discount Pay by phone (877) 309-3709; credit card or e-check at

Total Current Charges 2 www.phila.gov. Select water bill from pay menu options.

Late payment penalty m $41.45

List Fee SOAS See back for more information and contact details >

Total Account Balance $3,980.49
L Please Pay Now $3,980.49

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Your Water Usage

Meter Readings Usage History (ccf) [BActuat Reading Estimate |

26

Meter: 0506831 ERT: 0028664801 Service: 41R a

January 25,2022 actualreadng 919

December 22, 2021 actual reading 896

Total CCFs used 23

Approximate gallons used per day 506 sani ab [Mar | Apr |May/ Jun/ Jul |Aug | Sep! Oct |Nov/Dec | Jan

    

 

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Account Number
057-88190-03637-001

Please pay

Late payniient penalty Aye" 7fie” 7. 1/829.48
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WATER REV E BUREAU
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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 37 of 84

IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

CITY OF PHILADELPHIA,
Petitioner,

vs. NO. 2003T0022

James Coppedge
Respondent(s).

DECREE

This matter being before the Court upon the Petition to Show Cause Why Property Should
Not Be Sold Free and Clear of All Liens and Encumbrances filed by the City on MAMBAA) J 15 pe LZ
pursuant to the Act of Assembly of May 16, 1923, P.L. 207, 53 P.S. §7101, et seq. (the “Act”) the
Court therefore finds and hereby ORDERS and DECREES that:

1. The Rule return date has passed and the Court has considered Respondent(s) filed
answer or appearance, if any.

2. Following a hearing and upon review of the record, the Court finds that service has
been effectuated in accordance with Section 39.2 of the Act.

3. The total amount of real estate tax and municipal claim liabilities to the extent included in

.

this Petition (hereinafter “Claim” or “Claims”), including principal, interest, penalties, attorney’s fees,
and charges, expenses and fees through the date of this Decree, against the subject property, are due for
the periods and in the amounts set forth on Exhibit A attached hereto.

4. Additional amounts, including penalties, interest, attorney’s fees, lien costs and other
charges, expenses and fees, including record costs, if any, will continue to accrue through the end
of the month in which full payment of the real estate tax liabilities is made as provided by law.

5: The premises to wit:

13 Ward of the City of Philadelphia
3742 North 18th Street
OPA #: 131253200
Frt. 16' x 93' 8"
(As fully described in the Tax Information Certificate)

ORDRT-City Of Philadeipnia Vs Coppedge

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 38 of 84

shall be sold by the Sheriff, free and clear of all claims, liens, mortgages, judgments, ground rents,
charges, and estates, to the highest bidder at a Sheriff’s Sale, to occur subsequent to the date written
above.

6. Any person interested may, at any time prior to the proposed sale, pay the total amount of the
Claims, together with all applicable interest, penalties, attorney’s fees, charges, expenses and fees and
record costs, whereupon the sale shall be stayed and this proceeding shall be ended.

7. Pursuant to Section 39.2 of the Act, notice of this Decree and of the time, place and date of
the Sheriff's Sale, shall be served by first class mail on all respondents served with the Petition and Rule,
on any person whose interest appeared of record after the filing of the Petition but before the Court’s
Decree and on any person who obtained a judgment against the owner of the premises prior to the date of
the Decree. The Petitioner shall file an Affidavit of Service of these notices prior to the date of the sale.

8. Any proceeds realized from the Sheriff's Sale shall be distributed in accordance with the
priority established by law; and the purchaser at such sale shall take and forever thereafter have, an
absolute title to the property sold, free and discharged of all tax and municipal claims, liens, mortgages,
ground rents, judgments, charges, and estates of whatsoever kind.

9. The Property shall be subject to the right of redemption, if applicable, as provided by law.

10. Postponements of any Sheriffs Sale shall be announced to the assembled bidders, including
the new sale date, pursuant to the Philadelphia Sheriff's requirements.

11. Notice is hereby given that any property sold for unpaid Claims, including principal, interest,
penalties, attorney’s fees, and charges, expenses, and fees, may be subject to acquisition by the
Philadelphia Land Bank (“Land Bank”) pursuant to 68 Pa.C.S.A. § 2117(d)(3) and 68 Pa.C.S.A. §
2117(d)(4). If the Land Bank tenders a bid at the Sheriff's Sale pursuant to 68 Pa.C.S.A. § 2117(d)(4),
the Property shall be sold to the Land Bank without any further bidding.

12.-This Decree shall not constitute a personal judgment against any party.

BY THE COURT:

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Case.2:22-cv-00679-JMY--Document '4~Filed 03/10/22 Page 39 of 84

IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

CITY OF PHILADELPHIA,
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Respondent(s).

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This matter being before the Court upon the Petition to Show Cause Why Property Should
Not Be Sold Free and Clear of All Liens and Encumbrances filed by the City on 01/18/22
pursuant to the Act of Assembly of May 16, 1923, P.L. 207, 53 P.S. §7101, et seq. (the “Act’”) the
Court therefore finds and hereby ORDERS and DECREES that:

1. The Rule return date has passed and the Court has considered Respondent(s) filed

answer or appearance, if any.

2. Following a hearing and upon review of the record, the Court finds that service has
been effectuated in accordance with Section 39.2 of the Act.

3. The total amount of real estate tax and municipal claim liabilities to the extent included in
this Petition (hereinafter “Claim” or “Claims”), including principal, interest, penalties, attorney’s fees,
and charges, expenses and fees through the date of this Decree, against the subject property, are due for
the periods and in the amounts set forth on Exhibit A attached hereto.

4. Additional amounts, including penalties, interest, attorney’s fees, lien costs and other
charges, expenses and fees, including record costs, if any, will continue to accrue through the end
of the month in which full payment of the real estate tax liabilities is made as provided by law,

5. The premises to wit:

13 Ward of the City of Philadelphia
3637 North 21st Street
OPA #: 131294700
Frt. LOT IRREGULAR
(As fully described in the Tax Information Certificate)

ORDRI-City Of Phtadelphia Vs Coppedge Flal

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29030002 304044

 

 
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 40 of 84

 

shall be sold by the Sheriff, free and clear of all claims, liens, mortgages, judgments, ground rents,
charges, and estates, to the highest bidder at a Sheriffs Sale, to occur subsequent to the date written

above.

6. Any person interested may, at any time prior to the proposed sale, pay the total amount of the
Claims, together with all applicable interest, penalties, attorney’s fees, charges, expenses and fees and
record costs, whereupon the sale shall be stayed and this proceeding shall be ended.

7. Pursuant to Section 39.2 of the Act, notice of this Decree and of the time, place and. date of
the Sheriff's Sale, shall be served by first class mail on all respondents served with the Petition and Rule,
on any person whose interest appeared of record after the filing of the Petition but before the Court’s
Decree and on any person who obtained a judgment against the owner of the premises prior to the date of
the Decree. The Petitioner shall file an Affidavit of Service of these notices prior to the date of the sale.

8. Any proceeds realized from the Sheriff's Sale shall be distributed in accordance with the
priority established by law; and the purchaser at such sale shall take and forever thereafter have, an
absolute title to the property sold, free and discharged of all tax and municipal claims, liens, mortgages,
ground rents, judgments, charges, and estates of whatsoever kind.

9. The Property shall be subject to the right of redemption, if applicable, as provided by law.

10. Postponements of any Sheriff's Sale shall be announced to the assembled bidders, including
the new sale date, pursuant to the Philadelphia Sheriff’s requirements.

11. Notice is hereby given that any property sold for unpaid Claims, including principal, interest,
penalties, attorney’s fees, and charges, expenses, and fees, may be subject to acquisition by the
Philadelphia Land Bank (“Land Bank”) pursuant to 68 Pa.C.S.A. § 2117(d)(3) and 68 Pa.C.S.A. §
2117(d)(4). If the Land Bank tenders a bid at the Sheriff’s Sale pursuant to 68 Pa.C.S.A. § 2117(d)(4),
the Property shall be sold to the Land Bank without any further bidding.

12. This Decree shall not constitute a personal judgment against any party.

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BY THE COURT:
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 41 of 84

COURT OF COMMON PLEAS OF
PHILADELPHIA COUNTY
OFFICE OF JUDICIAL RECORDS

 

FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
ROOM 296 CITY HALL
PHILADELPHIA, PA 19107

#* RECEIPT ***
RECEIPT NUMBER: 1516342
RECEIPT DATE: 02/25/2022@1 1:24:09
CASHIER: JPALMER

DOCKET/EFILE/TICKET#: 2003T0021
CITY OF PHILADELPHIA VS COPPEDGE

PARTY: COPPEDGE, JAMES

MOTION FOR

RECONSIDERATION $52.68
CONVERSION OF PAPER

Tey EBe $12.00
CREDIT CARD629278 ($64.68)

 

CURRENT PARTY BALANCE: $0.00

 

PRINTED: Fri Feb 25 2022 11:25

RETAIN THIS RECEIPT FOR YOUR RECORDS

httns://fid-oirl v:8080/JRMS/PrintReceipt.aspx

Page 1 of 1

2/25/2022
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 42 of 84

OTHER TENDERED PAYMENTS
UNLAWFULLY REJECTED BY
THE CITY
 
 

| i s Coppedge zm (215) 913-1485

Case goo a006 79- JM Y, Document 4 Filed 03/10/22 Page 43 of 84

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a. SEND AGKNGWTEDGNENT TO: (Name and Address) © Delaware Department of State
he “| U.C.C. Filing Section
CITY OF PRILADELPHIA/DEPT OF REVENUE Filed: 01:51 PM 06/09/2021
ATTN: JAMES J. ZWOLAK, DIVISIONAL DEPUTY U.C.C, Initial Filing No: 2009 0491016
CITY SOLICITOR, For the City of Philadelphia Amendment No: 2021 4484615
1401 JFK BLVD, Sth FL, TAX UNIT : Service Request No: 20212398665
PHILADELPHIA, PA 19102

 

 

 

 

 

 

 

 

   
 
   

 

 

 

 

This is an sccual constructive be notice ofa partial release assignment of Financing Statement # 2009 0491016 on behalf
of JAMES COPPEDGE, Address: 2113 W. ERIE AVENUE, PHILADELPHIA, PA 19140, to pay the sum certain for (1)
MUNCIPAL TAX LIENS in the Amount of $59,600.00 (Fifty-Nine Thousand, Six Hundred Dollars and Zero Cents), Deposit
to the UNITED STATES TREASURY as an asset, (2) Delinquent Real Estate Tax Liability: ENTITY: BRT / 131066400,
ACCOUNT ID: 1000115238: REAL ESTATE TAX: $11,515.55 (Eleven Thousand, Five Hundred Fifty Dollars and
Fifty-Five Cents And Charge the Same to the CITY OF PHILADELPHIA, DEPARTMENT OF REVENUE for Order
Number: LTS3946878, Client Number : 138150, CASE ID: 2003T0020

The Sum Total Certain = $71,115.55 (Seventy-One Thousand, One Hundred Fifteen Dollars and Fifty-Five Cents), The
DEBT is Accepted for Value and Returned for yee pursuant to HJR-192 in consideration of US CONST. ART. 1 SEC 10.

 

 

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 44 of 84

 

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Delaware Department of State
UC.C, Piling Section
Filed; 04:38 PM 03/11/2020
U.C.€. Initial Filing No: 2009 0491016
Amendment No; 2020 1813448
Service Request Nor 20202075006

 

 

&. SEND ACKNOWLEDGMENT TO: {Name arid Address)
JEPARTMENT. OF THE TREASURY a
FINANCIAL MANAGEMENT SERVICE
P.O; BOX.1686
SIRMINGHAM, AL:35201-1686

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This pressntment is a constructive public natice of 4 partial assignment of Financing Statemeant#20090491016 AMENDMENT (COND)
for JAMES COPPEDGE to pay the sum certain of $2,751.67. Two Thousand, Seven Hundred Fifty-One Dollars: ‘and Sixty-Seven Cants:
to Daposit'to the United ‘States Treasury’ as an asset. And credit the same to'the PECO Processing, ‘P.O: Box 37620, Philadelphia; PA
19101-0629, on behalf of FREDERICK. DANGY, ADDRESS: -3739, N. 48TH STREET, , PHILADELPHIA, PA 19146.. This is-a patiial
reigase payment. [See BILL attachment Accepted for Value and Ratumed for- Value, pursuant fo HJR-192.}

 

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 45 of 84

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Cc SEND ACKNOWLEDGMENT TO: (Name and Address) ; UCC ae ig
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(or recorded) REAL RECORDS
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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 46 of 84

ucc FINANCING STATEMENT AMENDMENT

FOLLOW INSTRUCTIONS °

 

PHONE OF ‘AGT AT FILER (optional —
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secon rtegacnexuaslarsasiy Delaware Department of State
B E-MAIL CONTACT AT FILER (optenal) P

U.C.C, Filing Section

la RR I aD erin vinnie nee Filed: 09:45 AM 05/26/2021
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HILADELPHIA GAS WORKS = Amendment No: 2021 4083102
ATTN: CFO Service Request No: 20212101770
P.O, BOX 11700
NEWARK, NJ O7 101-4700
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DEPARTMENT OF THE TF REASU RY, FINANCIAL MANAGEME NT SERVICES
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This is an actual constcuctive public notice of a partial assignment of the U.C.C. Initial Financial Statement: Na: 2009
0491016, Amendment No. 120186724377, Servive Request No.: 20186900220 of the sum certain amount: 2,600.007TWO
THOUSAND DOLLARS AND ZERO CENTS) to be deposited at the Department of the Treasury and Paid to the Order of +.
‘The. United States Treasury and the same charged to PHILADELPHIA GAS WORKS on behalf of JAMES COPPEDGE,
Accouat No.: 0755172653, Address to: 3742 N. 18th Street, Philadelphia, PA 19140. Dated February 17, 2021. This is.a
Goverment obligation, pursaant to HJR-192 of June 5, $933, Pay to the Order of PGW: $2,060.00

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FILING OFFICE COPY — UCT FINANCING STATEMENT AMENDMENT (Form UCC3) (Rev. 04/20/11)

 
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 47 of 84

UCC FINANCING STATEMENT AMENDMENT

FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)

 

 

James Coppedge Delaware Department of State
B. E-MAIL CONTACT AT FILER (optional) U.C.C. Fillug Section
leojamesS2@gmail.com Filed: 08:49 PM 02/02/2021

 

C. SEND ACKNOWLEDGMENT TO: (Name and Address) U.C.C. Initial Filing No: 2009 0491016

[ DEPARTMENT OF THE TREASUREY | : ee - estan ;
FINANCIAL MANAGMENT SERVICES ever Serene
P.O. BOX 1686
BIRMINGHAM, AL 35201-1686

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THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

 

 

1a. INTIAL FINANCING STATEMENT FILE NUMBER 1b.f 7] This FINANCING STATEMENT AMENDMENT ss to be filed [for record]
2009 0491016 {or recorded) in the REAL ESTATE RECORDS
Fier attach Amendment Addendum (Form UCC3Ad) and prowde Debinr’s name in iter 13
— SSS Sat

 

 

2: E] TERMINATION: Effectiveness of the Financing Statement identified above Is terminated with respect to the secunty interest(s} of Secured Party authorizing this Termination
Statement

3. ¥/] ASSIGNMENT (tut! or Partial): Provide name of Assignee in item 7a or 7b, and address of Assignee in item /o aad name of Assiqnor in stem 9
For pertial assignment, complete items ¢ and 9 and also indicate affected collateral in tem 8
(Set

4. [] CONTINUATION: Effectiveness of the Financing Statement iontfied above with respect to the secunty interest(s) of Secured Party authorizing this Continuation Statement is
continued for the acaitional penod provkted by applicadie iaw

5. E] PARTY INFORMATION CHANGE:
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CHANGE name andor adcress Complete —-— ADD name Complete item DELETE name. Give record name
This Change affects {_]Debior or [_ }Secut ed Party of rocord [] flem Ga or 6b, ang ttem 7a or 7b and item 7c {_]7a or 7b, and item 7c to be deleted in item Ga or 6b
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6. CURRENT RECORD INFORMATION: Complete for Party Intormation Change - provide only one name (6a or 6b)
Ga ORGANIZATION'S NAME

 

 

 

 

 

OR 6b. INDIVIDUAL'’S SURNAME FIRST PERSONAL NAME ADDI TONAL NAME(S}INITIAL(S) SUFFIX
7. CHANGED OR ADDED INFORMATION: Corpicte ‘or Ass gnmenl o Party Informatien Change prowae ony ang name (74 0! 7D) (use easct fil name. do not omit, monily, or abdeeviele any part of ine Deblor’s name)
fa. ORGANIZATION'S NAME

 

 

DEPARTMENT OF THE TREASURY, FINANCIAL MANAGMENT SERVICES

OR Fp INDIVIDUAL'S SURNAME

 

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SUFFIX
7c, MAILING ADDRESS CITY STAIE [POSTAL CODE COUNTRY
P.O. BOX 1686 BIRMINGHAM AL | 35201-1686 USA
8. {_] COLLATERAL CHANGE: iso check ona of these four boxes: |_] ADD enllataral [ J OeLeTe collateral = [_] RESTATE covered cotlateras — [] ASSIGN collateral

Indicate collateral.

This is an actural constructive notice of a"partial release" to the DEPARTMENT OF THE TREASURY from an assignment
of Financial Statement: 2009 0491016 of the sum certian Amount of : $10,690.01 (Ten Thousand, Six Hundred Ninety-Dollars
and One Cent) to be Deposited as an asset to the DEPARTMENT OF THE TREASURY and Pay to the Order of ; The
United States Treasury and the same Charged to the PHILADELPHIA GAS WORKS, Account Number: 0755172653,
Addressed to 3742 N. 18th Street, PHILADELPHIA, PA 19140 on behalf of JAMES COPPEDGE, DEBTOR Dated
FEBRUARY 17, 2021. This is a Government obligation, pursuant to HJR-192 of June 5, 19333. UCC 3-603, 1-103, 1-308.
9. NAME or SECURED PARTY or RECORD AUTHORIZING THIS AMENDMENT: Provide only 90 name (Ba oF Ob) (name of Assignor, if this

it this is an Amendment authonzed by a DEBTOR. check here C and provde name of authorizing Vebtor
9a ORGANIZATION'S NAME

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10. OPTIONAL FILER REFERENCE DATA:

 

 

 

 

 

 

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 48 of 84

uce FINANCING STATEMENT AMENDMENT

 

   
   
 
  

FOLLOW INSTRUCTIONS
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A NAME & PHONE OF CONTACT AT FILER {optional

JAMES COPPEDGE

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a el nen he ae Filed: 10:14 AM 05/26/2021
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[ CYTY OF PHSLADELPMIA ~] Amendment No: 2021 4083938

DEPARTMENT OF REVENUE/LAW DEPT Service Request No: 20212103556
WATER REVENUE BUREAE (TAX)
1401 JFK BLVD, STH FL

|_ PHILADELPHIA, PA 19102 |

 

  
 

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Charge the Same te : CITY OF PHILADELPHIA, WATER REVENUE BUREAU, Account No. 057-981 90-03637-001 from
an assignment of /Financial Statement: #2009 0491016 on behalf of COPPEDGE, JAMES: Address: 3637 Nv 21 STREET,
PHILADELPHIA, PA 19140. Pay CITY OF PHILA. WRB: $2,215.05 Dated: 03/26/21, pursuant to HIR-192 of June §, 1933,

UCC te 1105.6, 1-308

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 49 of 84

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FOLLOW INSTRUCTIONS
4, NAME & PHONE OF CONTACT AT FILER (optional)

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JeajamesS2@gmail.com noel 2” alone Filed: 09:59 AM 05/26/2021
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CITY OF PHILADELPHIA | Amendment No: 2021 4083474
DEPARTMENT OF REVENUR/LAW DEPT Service Request No: 20212102479

WATER REVENUE BUREAU (TAX)
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United States Treasury in the sam certain of : $2,812.99 (Iwo Thousand, Fight Hundred. Twelve Dollars and Ninety-Nine
Cents) and Charge the Same to: CITY OF PHILADELPHIA, WATER REVENUE BUREAU, Account No.
057-88130-03742-001 from an assignment of /Findncial Statement: #2009 6491016 on behalf of COPPEDGE, JAMES:
Address: 3742 N, 18th Street, PHILADELPHIA, PA 19140, Pay CITY OF PHILA. WRBE 2,812. 9 fated; 03/26/21,
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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 50 of 84

ucG FINANCING STATEMENT AMENDMENT

 

 

 

 

 

 

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| DEPARTMENT OF THE TREASURY, FINANCIAL MANAGEMENT SERVICES _

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United States Treasury in the sum certain of : $8,459.24 (Eight Thousand, Four Hundred Fifty-Nine Dollars and
Twenty-Four Cents) and ¢ harpe the Same to: CITY OF PHILADELPAIA, WATER REVENUE BUREAU, Accaunt No.
057-88130-03739-01 from an assignment of /Financial Statement: #2009 0491016 on behalf of COPPEDGE, JAMES:
Address: 3739 N. 18th Street, PHILADELPHIA, PA (9140, Pay CITY OF PHILA, WRB: $8,459.24, Dated: 03/26/21.
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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 51 of 84

UCC FINANCING STATEMENT AMENDMENT

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NEWARK, NJ 07101-4700
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$8. INITIAL FINANCING STATEMENT FILE MGR

 

 

 

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THOUSAND DOLLARS AND ZERO CENTS) to be deposited at the Department of the Treasury and Paid to the Order of :
‘The United States Treasury and the same charged to PHJLADELPHIA GAS WORKS on behalf of JAMES COPPEDGE,
Account No.: 0755172653, Address to: 3742 N. {8th Street, Philadelphia, PA 19140. Dated February 17, 202. This is a
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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 52 of 84

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UCC FINANCING STATEMENT AMENDMENT

 

 
  
 
 
 
 
 
   
 

 

 

 

 

 

 

 

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Cents) and Charge the Same to: CITY OF PHILADELPHIA, DEPT OF REVENUE: Account No. 120000975} from an
assignment of /Financial Statement: #2009 0491016 on behalf of COPPEDGE, JAMES: Address: 3742 N.A8TH STREET,
PHILADELPHIA, PA 19140. Pay CITY OF PHILA, DEPT OR REVENUE $9,645.95 Dated on or hefore JUNE 30, 2021,

pursuait fo HIR-192 of June 5, 1933, UCC 1-103,6, 1-308

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 53 of 84

UCC FINANCING STATEMENT AMENDMENT

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Service Request No: 20212104001

DEPARTMENT OF REVENUE/LAW DEPT
WATER REVENUE BUREAU (TAX)
1403 JFK BLVD. STH FL

| PHILADELPHIA, PA (9102 _]
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78. INITIAL FINANGING STATEMENT F4.& NUMECR Ths STATEME ts ig-ba
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WATER REVENUE BUREAU, Account No. 057-88190-03637-001 from an assignment of /Financial Statement: #2009

| 0491016 on behalf of COPPEDGE, JAMES: Address: 3637. N: 21 STREET, PHILADELPHIA, PA 19140, Pay CITY OF

| PHILA, WRB: $2,215.05 Dated: 03/26/21, pursuant to HIR-192 of June 5, 1933, UCC 1-103,6, 1-308

 

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 54 of 84

UCC FINANCING STATEMENT AMENDMENT
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DEPARTMENT OF REVENUE/LAW DEPT Service Request No: 20212103792

WATER REVENUE BUREAU (TAX)
1401 JFK BLVD, STH FL
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P.O. BOX 1686 | BIRMINGHAM i i AL 35201-1686 USA

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indecate collatera’

This is an-actual constructive notice of a partial release of a BILL accepted for value and returned for value: -Payabte to the
United States Treasury. in the sum certain of : $1,737.32 (One Thousand Seven Hundred Thirty-Seven Dollars and
Yhirty-Two Cents} and Charge the Same to : CITY OF PHILADELPHIA, WATER REVENUE BUREAU, Account No.

057-32000-021 13-00 19808 from an assignment of /Financial Statement: #2009 0491016 on behalf of COPPEDGE, JAMES:

Address: 2113 W. ERLE AVENUE, PHILADELPHIA, PA 19146, Pay CITY OF PHILA. WRB:-$1,737.32 Dated: 03/26/21,
pursuant te HIR-192 of June §, 1933, UCC 1-103,6, 1-308»

wesied
& NAME ‘oF SECURED PARTY Ge RECORD. “AUTHORIZING THIS AMENOMENT:. “Prowide Oy Uae hanes (a orb) iname Gt Avéagaor Wiles if'an Assignment
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ra SAARDENGNS WARE OT” Scting ee RS ero A demesne

 

 

 

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OR hag INCAVIBUALS SURNARE “70 eS TEIRST PERSONAL NAME . “aoe THVGNAL RAMEDSWNTIALG) [SUFFI Oo"
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49 OPTIONAL FILER REFERENCE DATA ~ : : : “ ait : Sate

 

 

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 55 of 84

a RE364080866US JAN 04, 2022

fous AB Notice Conceming Fiduciary Relationship
ev eel > Go to wiw.irs.gov/FormSs for instructions and the latest information. aii
Intermed Revenue Service {internal Revenue Code sections 4036 and 6903) I

 

identification
Name of person for whom you are acting (as shown on the tax retum)
JAMES COPPEDGE
Address of person for whom you are acting (number, street, and room or suite no.)
52 BARKLEY SOURT

City or town, state, and ZIP code (|f a foreign address, see instructions.)

DOVER, DELAWARE 19904
Fiduclary's name

JANET YELLON, SECRETARY OF THE TREASURY
Address of fiduciary (number, street, and room cr suite no.)

TREASURY BUILDING, 1500 PENNSYLVANIA AVENUE N.W.
Gity or town, state, and ZIP code

WASHINGTON, D.C. 20220 (

Section A. Authority

Authority for fiduciary relationship. Check applicable box:

(1 Court appointment of testate estate (valid will exists)

(1 Court appointment of intestate estate (no valid will exists)
(C1 Court appointment as guardian or conservator

(J Valid trust instrument and amendments

(1 Bankruptcy or assignment for the benefit or creditors
(xOther. Describe > BIRTH RIGHTS UCG-1 - 2009 0491016 (current) TO DISCHARGE ALL.DEBTS.. (PGW s)

Hboxiaoribischaded antertedasciagan>| "|

eee
Jecedent’s social security no.

 

Telephone number (optional

 

wt

och-oa00m

 

Section B. Nature of Liability and Tax Notices

3. Type of taxes (check all that apply): [] Income C1 Git ©] Estate [| Generation-skipping transfer [| Employment
Cl Excise ther (describe)> ALL UTILITY: BILLS. - HJR-192 0

4 Federal tax form number (check all that apply): a []706 series b[J709 c([J}940 4) 941, 943, 944
e (1 1040, 1040-A, or 1040-EZ ¢ (11041 gf}1120 H{LJOther disp

5 ‘If your authority as a fiduciary does not cover all years or tax periods, check here . 2 2 - - ee ee ee O
and list the specific years or periods ee secretes ten ll eee te esse

 

For Paperwork Reduction Act and Privacy Act Notice, see separate instructions. Cat. No. 16375! Form &G (Rev. 11-2017)

SasV3 WWesdss

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 56 of 84

uv. V1-2077k Paga 2

Le oe > or = :
iii} Revocation or Termination or Notice

Section A— Total Revocation or Termination
6 Check this box if you are revoking or terminating all prior notices concerning fiduciary relationships on file with the internal
Revenue Service for the same tax matters and years or periods covered by this notice concerning fiduciary relationship >
Reason for termination of fiduciary relationship. Check applicable box:
a (C\ Court order revoking fiduciary authority
b () Certificate of dissolution or terrnination oi a business entity
c ( Other. Describe &

 

 

Section B—Partial Revocation

7a Check this box if you are revoking earlier notices concerning fiduciary relationships on file with the internal Revenue Service
for the same tax matters and years or periods covered by this notice cancerning fiduciary relationship . . 2. ee
b Specify to whom granted, date, and address, including ZIP code.

Section G—Substitute Fiduciary
8 Check this box if a new fiduciary or fiduciaries have been or will be substituted for the revoking or terminating fiduciary and
specily the name(s) and address(es), including ZIP code(s), of the new fiduciarylies) . -, we ed BO

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 57 of 84

  

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UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF PENNSYLVANIA

CASE No.: 22-cv-679

ADDENDUM

48 CER Ch. 1 53.228 Bonds and imsurance

The following standard forme are prescribed for usc for bond 2nd umurance reeptirements, 2s
specifecd in purt 2B:(a) SF 24 (Rev. 10/98) Bid Bord. (Sec 28.106~1.} SF 24 is authorized for ioca!
reproduction aad 2 copy & lurnished for this purpose m Part 53 of the foosr tenS aditive of the
FAR. (b) SF 25 (Rev. 5/96) Performance Bond. (See 28.106-1(b).) SF 25 is sutherized for local
reproduction and a copy is furnished for this purpose in Part 53 of the ioves teaf edition of the
FAR. (c} SF 25 (Rev. 10/98) Payment Bowd. (Sce 28_106~1(c).) SF 25-A ie authorized for loot!
reprodection and a copy is furnished fer this pucposc in Part 53 of the boase leaf edition of the
EAR. (4) SF 25-8 (Hev.-1W/83), Constnuation Shees {Por Stazdard Ferms 24, 25, and 25-Aj. Gee
28.306—1{d)}.} (e} SF 28 (Rev. 603) Affldavis of ludividual Surety. (See 28.106—1(c) and Past 53 of
the toose leat editson of the FAR{o} OF 90 (Hev. 1/90}, Release of Liex on Reai Property. Se
28.106—i(0} 2acd28.203-S(e).) OF 90 is authorized for local reproductinan and a copy és furnished
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Personal Property frows Escrow. (Sec 25.106-1(p) and 28.203~S(a},) OF 91 te suthorized for local

uction sad a copy bs Suralshed for this purpose in part 53 of the loose leaf edition of the
FAR, [43 PR 42637, Sept £9, 1983, a9 msseaded at S3 FR 43395, Oct. 26, 1988; $6 FR 48993, Nov.
28,1989; SS FR 25534, Jumc2i, 1990; $5 FR S2BG1_Dec. 21, 1990: $9 FR 67061, Dec. 28. 1994: 61
FR 39214, July 26, 1996; 63 PR $8603, Oct 30, 199863 FR 70293, Doc. 18, 1998; 64 FR 10549,
Mas. 4, 1999; GB FK 28088, May 72, i003}

NOTICE OF MOVEMENT
Please move BONDS from the private side to the PUBLIC SIDE for
Acceptance of Value, closure and settlement of this accounting

With prejudice. Under Christian Law, if I have unknowingly fai
to see any judgments or liens, please accept them for value and

them.

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 58 of 84

 

 

 

 

 

 

 

 

 

 

     
  

 

AFFIDAVIT OF INDIVIDUAL SURETY OMB No.: 9000-0001
(See instructions on reverse)

Public reporting burden for this collection of inf sion is astimeted 19 average 3 hows pet response inckuding ie sme fr reviewing meus, Nectar any ctor
aspect of ous Ted ee eae fer ons ing thus bund to the Regulatory Secretari nN Office ut Acquisition Policy, GSA, W ;
DC 20405.
STATE OF

DELAWARE
COUNTY OF —| $s.

a being that | {1) the the attached {2) a citizen of the United
1, the 5 sworm, depose and $3) am: surety to ; a ;
States; and | age ond tog y competent. | also depose and say that, conceming any stock of bonds inchuded in the asoets Estod
below, that there sfe no restrictions on the F of these escumities pursuant to the regen pn provisions of Section 5 of the
Securities Act of 1933. bs . rere oe ss ae ar a pote ae : on Seeewee eS nai ” abject to pe ns 8 aor Title 18,
United States rs Secuone 1001 and 404. This effidevit ts mec RO SY fo tiiead States of America to accept me as surety on
1. NAME (First, Middle, Last) [Type or Print) 2. ADDRESS Phenber, Strest. City, State, ZIP Code}

B/C # 156-44-328005 (NY)
52 BARKLEY COURT, DOVER, DELAWARE 19904
3. TYPE AND DURATION OF OCCUPATION [4. NADINE AND ADDRESS OF EMPLOYER A Seltempioyed, so Stic)
CLERK OF COURT, U.S. DISTRICT COURT FOR THE

JAMES (NMN) COPPEDGE

SURETY / LIFETIME

= WAME AND ADDRESS OF INDIVIDUAL SURETY BROKER USED Uf any) 6. TELEPHONE NUMBER
(Number, Street, City, State, ZIP Coda} HOME . ¥
DEPOSITORY TRUST COMPANY (302) 674-2535
55 WATER STREET, NEW YORK, NY 10041-0099 | BUSINESS -

=THE FOLLOWING 1S A TRUE REPRESENTATION OF THE ASSETS | HAVE PLEDGED TO THE UNITED STATES IN SUPPORT OF THE ATTACHED BOND:

(a) Real eatete Unclude a lege! description, street address and other identifying description: the market value: sttech sunporting certified documents es
including recorded Ken; evidence of title and the current tax assessment of the prop y. For market value app h, also provide a 2pp

see Optional Form 90 RELEASE OF LIEN (attached)
see Optional Form 91 PERSONAL PROPERTY FROM ESCROW (attached)

i

 

i)

see Stamdard Form 24 BID BOND (attached) BOND VALUE: $500,000.00 USD
see Standard Form 25 PERFORMANCE BOND (attached) CASE No.: 22-cv-679 (JMY)
see Standard Form 25A PAYMENT BOND

(b) Assets othor than real ich ibe the the details of the escrow account, and attach certitied evidence thereof).

 

PHILADELPHIA GAS WORKS: Acct# 0755172653. Amt.$11,635.41, Address: 3742 N. 18th St.,
19140. PECO: Acct.# 09902-84029; Amt. $10,410.97; Address: 3739 N. 18th St., 19140
Address: 3742 N. 18th St.: BRT #131253200 SCE #1200009751 Amt.: $9,712.08.

SANTANDER CONSUMER USA; _Amt.: 18,483 Oa (see attachments) ————
B.IDENTIFY ALL MORTGAGES, LIENS, JUDGEMENTS, OR ANY OTHER ENC! INVOLVING SUBJECT S INCLUDING REAL ESTATE TAXES DUS AND
PAVAB) E.

PGW: Amt.: $11,635.41; PECO: Amt.: $10,410.97; SANTANDER CONSUMER USA: Amt. :$18,483.0:

Total: $49,701.51
. DIDENTIFY ALL BONDS, INCLUDING BID GUARANTEES, FOR WHICH THE SUBJECT ASSETS HAVE BEEN PLEDGED WITHIN 3 YEARS PRIOR TO THE DATE OF

 

 

 

 

 

 

 

 

 

 

 

 

 

 

EXECUTION OF THIS AFFIDAVIT.
OPTIONAL FORM 90, OPTIONAL FORM 91, EIN 210342201, F57739507, UCC 1 - 2009 0491016
E81761746
DOCUMENTATION OF THE PLEDGED ASSET MUST BE ATTACHED.
MW. TO WHICH THIS AFFIDAVIT RELATES (Where
Spy seprepiete) Ont Form 90,891, EIN 210342201,
Ut Lge £81761746, F57739507 ee
12. SUBSCRIBED AND SWORN TO BEFORE ME AS FOLLOWS: ii bal avian O25
a. DATE OATH ADMINISTERED ib. CITY AND STATE (Or other jurisdiction) he NEN ler oe
MONTH DAY YEAR \ . pel egy ie ¢ i.
O23 OSs 3022 DoVCR. ) DE CAWALCE bgt \ \ Official ( %
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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 59 of 84

INSTRUCTIONS

1. Individual sureties on bonds executed in connection with Government contracts must complete and
submit this form with the bond. (See 48 CFR 28.203, 53.228(e).) The surety must have the completed
form notarized.

2. No corporation, partnership, or other unincorporated association or firm, as such, is acceptable as an
individual surety. Likewise, members of a partnership are not acceptable as sureties on bonds that a
partnership or an association, or any co-partner or member thereof, is the principal obligor. However,
stockholders of corporate principals are acceptable provided (a) their qualifications are independent of
their stockholdings or financial interest therein, and (b) that the fact is expressed in the affidavit of
justification. An individual surety will not include any financial interest in assets connected with the
principal on the bond that this affidavit supports.

3. United States citizenship is a requirement for individual sureties for contracts and bonds when the
contract is awarded in the United States. However, when the Contracting Officer is located in an
outlying area or a foreign country, the individual surety is only required to be a permanent resident of the
area or country in which the contracting officer is located.

4. All signatures of the affidavit submitted must be originals. Affidavits bearing reproduced signatures
are not acceptable. An authorized person must sign the bond. Any person signing in a representative
capacity (e.g., an attorney-in-fact) must furnish evidence of authority if that representative is not a

member of a firm, partnership, or joint venture, or an officer of the corporation involved.

STANDARD FORM 28 irEV. 6/2003) BACK
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 60 of 84

RELEASE OF PERSONAL PROPERTY FROM ESCROW

 

 

Whereas JAMES (NMN) COPPEDGE + _B/c_#156-44-328005 , by a bond
(Name) (Place of Residence)
for the performance of U.S. Government Contract Number XXX-XX-XXXX 1

 

pecame a surety for ihe compleie and successful performance of said coniraci, and Whereas said
surety has placed certain personal property in escrow

in Account Number CASE No.: 22-cv-679 (Judge Young) on deposit

ai CLERK OF COURT, U.S. DISTRICT CT FOR THE EASTERN DISTRICT OF PA
(Name of Financial Institution)

located ai 601 MARKET ST, Room 2609, PHILADELPHIA, PA 19106-1797 . ane
(Address of Financial Institution)

 

 

 

 

 

 

 

Whereas |, james (nmn) Coppedge, family of coppedge , being a duly authorized

representative of ihe United Siates government as a warranted coniracting officer, have determined

that retention in escrow of the following property is no longer required io ensure further performance
of the said Government coniract or satisfaction of claims arising therefrom:

see Standard Form 28 AFFIDAVIT OF INDIVIDUAL SURETY (attached)

see Optional Form 90 RELEASE OF LIEN (attached)

see Standard Form 24 BID BOND (attached)

see Standard Form 25 PERFORMANCE BOND (attached)

see Standard Form 25A PAYMENT BOND (attached)

and

Whereas the sureiy rernains liable io ihe Linited States Government for the continued performance oF
the said Government contract and satisfaction of clairns periaining thereto.

Now, therefore, this agreement witnesseth that the Government herevy releases from escrow ine
property listed-above, and direcis the custodian of the aforementioned escrow account io deliver ihe
listed property to the surety. if the listed property comprises the whole of the property placed in
escrow in the aforementioned escrow account, the Government further directs the custodian to close
the account and to return all property therein to ihe surety, along with any interest accruing which
remains after the deduciion of any fees lawfully owed ic

COURT OF COURT, U.S. DISTRICT COURT FOR THE EASTERN DISTRICT OF PA
(Name of Financial insiitution)

  

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| A NOTARY PUBLIC FOR THE STATE OF DELAWARE, :
COUNTY OF KE
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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 61 of 84

 

 

“DATE BOND EXECUTED Ms not be Jater than bid
BID BOND opening date} OMB NO.: 9000-0045

(See instruction on reverse) “ 07/29/1944

 

 

 

Public reporting burden for this collection of information is estimated to average 25 minutes per response, including the time for reviewing instructions, searching existing data
sources, gathering and maintaining the data needed, and completing and fiewing ection of inf ion. Send ts reg! ding this burden estimate or any other
aspect of this collection of information, including suggestions for reducing this burden, to the FAR Secretariat (MVR), Federal Acquisition Policy Division, GSA, Washington, DC

20405.

 

 

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J S (NMI) COPPEDGE
INDIVID ARTNERSHI
PARKERS RUN Ed] worvouat Cle :
52 BARKLEY CT [_] soir venture (J corporation
DOVER, DELAWARE 19904 STATE OF INCORPORATION
B/C# 156-44-328005 NY

 

 

SORTS ARES “(AHEY COPPEDCE
DIC
55 WATER STREET, NY, NY 10041

 

 

 

 

 

ee NI

PENAL SUM OF BOND BID IDENTIFICATION

rea AMOUNT NOT TO EXCEED BID DATE INVITATION: NO

OF BID IMILLIONIS) _  THOUSANDIS) — [HUNDREDIS) [CENTS 02/15/2022  ~ “CASE No.: 22-cv-679(Judge Young)

 

 

 

FOR (Construction,
Supplies,or Services)

 

 

 

 

 

 

We, the Principal and Surety(ies) are firmly bound to the United States of America (hereinafter called the Government) in the above penal sum. For
payment of the penal sum, we bind ourselves, our heirs, executors, administrators, and successors, jointly and severally. However, where the
Sureties are corporations acting as co-sureties. we, the Sureties, bind ourselves in such sum “jointly and severally” as well as "severally" only for the
nt action or actions against any or all of us. For all other purposes, each Surety binds itself, jointly and severally with the

purpose of allowing a joi N i y and st
Principal, for the payment of the sum shown oppasite the name of the Surety. If no limit of fiability is indicated, the limit of liability is the full amount

of the penal sum.
CONDITIONS:
The Principal has submitted the bid identified above.

THEREFORE:

if the Principal - (a) upon acceptance by the Government of the bid identified above, within the period specified therein for
acceptance (sixty (60) days if no period is specified), executes the further contractual documents and gives the bond(s) required by the terms of the
bid as accepted within the time specified (ten (10) days if no period is specified) after receipt of the farms by the principal; or (b) in the event of failure
to execute such further contractual documents and give such bonds, pays the Goverment for any cost of procuring the work which exceeds the

amount of the bid.
Each Surety executing this instrument agrees that its obligation is not impaired by any extension(s) of the time for acceptance of the bid that the

Principal may grant to the Government. Notice to the surety(ies) of extension(s) are waived. However, waiver of the notice applies only to extensions
aggregating not more than sixty (60) calendar days in addition to the period originally allowed for acceptance of the bid.

 

 

 

 

 

  
 

 

 

 

 

 

 

 

 

 

 

 

 

  
 
 

 

 

 

 

 

 

   

 

 

 

WITNESS:
The Principal and Surety(ies) executed this bid bond and affixed their seals on the above date.
PRINCIPAL
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sIGNATUREIS) | —/ 4 17) Ee Co PYPEAGCE
ie (Seal) {Seal} (Seal) Corporate
UZ 2. 3 Seal
nau. |” JAMES) COPPEDGE .
(Typed ms f;
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sires INDIVIDUAL SURET Y{IES)
se NA. 2.
sian
Fe wih panel . (Seay ; (Seal)
NAME(S) §. - Pigs CY: 2.
(Typed) “*),'" James Coppedge, Authorized Agent .
CORPORATE SURETY(IES)
NT, STATE OF INC. [LIABILITY LIMIT (S)
N /,

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HTT A NOTARY PUBLIC FOR THE STATE OF DELAWARE, od

   
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 62 of 84

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LIABILITY LIMIT
NAME fs STATE OF INC. LIABILITY Limit (S)
m| ADDRESS
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17 |SIGNATURE(S) . Corporate
9 : Seal
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TITLES)
(Typed)

 

 

 

 

 

INSTRUCTIONS

1. This form is authorized for use when a bid guaranty is required. Any deviation from this form will require the written approval of the
Administrator of General Services.

2. Insert the full legal name and business address of the Principal in the space designated "Principal" on the face of the form. An authorized

person shall sign the bond. Any person signing in a representative capacity (e.g., an attorney-in-fact) must furnish evidence of authority if that
representative is not a member of the firm, partnership, or joint venture, or an officer of the corporation involved.

3. The bond may express penal sum as a percentage of the bid price. In these cases, the bond may state a maximum dollar limitation (e.g.,
(e.g., 20% of the bid price but the amount not to exceed dollars).

4. (a) Corporations executing the bond as sureties must appear on the Department of the Treasury's list of approved sureties and must act
within the limitation listed therein. where more than one corporate surety is involved, their names and addresses shall appear in the spaces
(Surety A, Surety B, etc.) headed "CORPORATE SURETY(IES).” In the space designed "SURETY(IES)" on the face of the form, insert only
the letter identification of the sureties.

(b) Where individual sureties are involved, a completed Affidavit of Individual surety (Standard Form 28), for each individual surety, shall
Seoay gary the bond. The Goverment may require the surety to furnish additional substantiating information conceming its financial
ity.

capabi

5. Corporations executing the bond shall affix their corporate seals. Individuals shall execute the bond opposite the word "Corporate Seal";
and shall affix an adhesive seal if executed in Maine, New Hampshire, or any other jurisdiction requiring adhesive seals.

6. Type the name and title of each person signing this bond in the space provided.

7. {nits application to negotiated contracts, the terms “bid” and "bidder" shall include "proposal" and “offeror.”

 

SS
STANDARD FORM 24 (Rev. 10-98) BACK
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 63 of 84

PERFORMANCE BOND "PERE CRES EELS Mi Ee ree or Seer in Pm

 

 

    

    
  

 

 

 

(See instructions on reverse}

: S fb 07/29/1944_,

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aspect of this collection of inforreation. induding suggestions for reducing this burdan, to the FAR Secreta GAVE, Federal Acquisition Policy Division, GSA, Washingaon.

DC 20405
“PRINGIPAL (Lega! name and business address} > ’ £°X" one}

 

JAMES (NMIv) COPPEDGE ° i [4 mount [LJ parmenstie
PARKERS RUN

52 BARKLEY COURT { ] somnt VENTURE j ] conroraTion
DOVER, DELAWARE 19904 STATE OF INCORPORATION

NEW YORK- B/C BOND NO: 156-44-328005

SURETYUES) (emets] and Gusiass addiresstes} PENAL SUM OF BOND
MILLIONIS) FTHOUSANDIS) |HUNDREDIS! CENTS
JAMES (NMN) COPPEDGE

 

 

 

 

 

 

 

 

 

 

 

DEPOSITORY TRUST COMPANY CONTRACT DATE CONTRACT NO.
55 WATER STREET tare CASE No.: 22-cv-679 .
NEW YORK, NEW YORK 100 apa) ane (JMY)
OBLIGATION:
ae ces papel act Surety, aro femly baund wo he United States of Armerca Brreinater called the Gaver 0.07 "Howawer. wer For
We. the Principal and Surety): 0 Srreaes, our fess, exmeanie, adranietrators, and Sucnesten Soe) Sy" ag wel a However, where the
Sureties are a tine oursatves, our, heirs Serio careaves in such sum ‘party and severally” 25 wall “See ty with the
i ursalves in Suc Sines each Surety binds itself, jointly and severally ith Te

CONDITIONS:
The Principal has enterad into the contract identified above.

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

THEREFORE:
‘The above obligation is void if the Principal -

tat) Performs and fulfills ali the covenants, terms, conditions, and of the contract during the original term of the
contract any thereof that are granted Ge rman. wath of without notice to the SuretyGes), and during the hfe O° at orcs
required under comtract, and (2) performs fulfils ali the , terms i of any and all duly

ized modifications of the contract TS a er are made. Notice of these modifications to the Suretvlies) are weived.

{b) rere ae Govemenans tha full amet of the taxes imposed by the Government, i de sad contact sub N6 MOSE Ck eapect
soit Rate tte Goverment. he ful arc ot hel rom wages paid By the Principal in carrying out the constuction commas WN SANS=!
which this bond is furnished.

WITNESS:
‘The Principal and Suretyfies) executed this perfornance bond and affixed their seals on the above Aste.
PRINCIPAL
Lae Zz Ss. oe
SIGNATURERS) DJ AMES C3 fAGOCE
c= SS ; y [Sead Corporate
T. i 2. 3. Seal
{Seal}
: CORPORATE SURETY(IES)
NAMES “ATE OF INC. DABSITY tas

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 64 of 84

 

CORPORATE SURETY (@ES) (Continued)

 

NAME &
/DDRESS

STATE OF INC

 

 

 

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INSTRUCTIONS

1 This form is authonzed for use in connecnon win Goveinmem
contracts. Any dewsaton from ms form wil require the wiittien
approval of the Administrator of General Sennoes

2 insert the full legal name and Dusiness accress of the Ponapai ww
the space designated “Principal on the face of the form An

evidence of aughorily @ mat representaive 6s nol a member of the from
partnership. or joi ver@ure. or an officer of he Comorayon mvolvea

3. (a) Corporations executing the bond as sureres must appear on
the Department of the Treasury's list of approved sureties and must
act within the limitation ksted therein Where more than one corporate
surety is involved, them names and addresses shall appear in tne
spaces (Surety A. Surety B. etc ) headed “CORPORATE

SURE TY(IES) ~ in he space designated “SURETY(IESY on in
face of the torn jreert only the Maiter kigralicanon of the sorepes

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shall accompany he bond The Goversgent may require the sure
10 fumish addizonat substandating idormation conceming thei
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4 Cooma allie de Castelli alae tan conpccate sant
indnaduats shall execute the bond opposite the words “Corpora
Seal and shat affix an adhesive seal f executed in Mame. New
Hampshire or any other uinscichon requaing adheswe seats.

5 Type me name ana tile of each person signing this bond in tt
space provided

 

STANDARD FORM 25 (REV. 3/2013) B/
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 65 of 84

 

 

 

 

 

 

DATE BOND EXECUTED (Must be same jater than date of
PAYMENT BOND contract) . * me Can :9000-0045
(See instructions on reverse) 07/29/1944 5
Pubic reporting burden for this collection of information is estimate to average “nines par Tesponse, including the time for revrewing instructions, Searching existing data
saurces, gathering and maintaining the data 5 ded, and completing and reviewing the collecti of inf i Send egarding this burd: estimate or any other

eee on af infomation, including suggestions for reducing this burden, ta the FAR Secreta (MVR), Federal Acqustion Policy Divison, GSA. Weshingiin,
DC 20405

 

 

 

 

 

 

 

 

 

 

 

“PRINCIPAL (Legal name and business address) - TYPE OF ORGANIZATION /°X™ one}
JAMES (NMN) COPPEDGE
52 BARKLEY COURT Bo} momiuat (7) parmensti
DOVER, DELAWARE 19904
Fur venture [7] corporation
STATE OF INCORPORATION
NEW YORK - B/C#156-44-328005
SURETYUIES) (Name(s) and business address(es) PENAL SUM OF BOND
JAMES (NMN) COPPEDGE MILLION(S} TROUSANDIS) |HUNORED(S)
DEPOSITORY TRUST COMPANY
55 WATER STREET CONTRACT DATE CONTRACT NO.
NEW YORK, NEW YORK 10041-0099 02/15/2022 CASE No.: 22-cv-679
(JMY)
OBLIGATION:

We, the Principal and Suretylies), are firmly bound to the United States of America (hereinafter called the Government) in the above penal sum. For
payment of the penal sum, we bind ourselves, our heirs, executors, administrators, and successors, jointly and severally. However, where the
Sureties are corporations acting as co-sureties, we, the Sureties, bind ourselves in such sum "jointly and severally" as well as “severally” only for the
purpose of allowing a joint action or actions against any or all of us. For all other purposes, each Surety binds itself, jointly and severally with the
Principal, for the payment of the sum shown opposite the name of the Surety. If no limit of liability is indicated, the limit of liability is the full amount

of the penal sum.
CONDITIONS:
The above obligation is void if the Principal promptly makes payment to all persons having a direct relationship with the Principal or a subcontractor 01

the Principal for furnishing labor, material or both in the prosecution of the work provided for in the contract identified above, and any authorizec
modifications of the contract that subsequently are made. Notice of those modifications to the Suretylies) are waived.

WITNESS:

The Principal and Surety(ies) executed this payment bond and affixed their seals on the above date.

 

 

 

 

 

 

 

 

 

 

 

 

 

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CORPORATE SURETY(IES)

 

 

¥ STATE OF INC. LIABILITY LIMIT
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CONMQPOB-O2- 2033
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 66 of 84

 

CORPORATE SURETYI(IES) (Continued)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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INSTRUCTIONS

1. This form, for the protection of persons supplying labor and maierial, is
used when a payment bond is required under the Act of August 24, 1935,
AQ Stat. 793 (40 U.S.C. 270a-270e}. Any deviation from this form will
require the written approval of the Administrator of General Services.

2. Insert the full legal name and business address of the Principal in the
space designated “Principal on the face of the form. An authorized
person shall sign the bond. Any person signing in a representative
capacity (e.g., an attomey-in-fact) must furnish evidence of authority if
that representative is not a member of the firm, parmership, or joint
venture, or an officer of the corporation involved.

3. (a) Corporations executing the bond as sureties must appear on the
Department of the Treasury's list of approved sureties and must act
within the limitation listed therein. Where more than one corporate surety
is involved, their names and addresses shall appear in the spaces (Surety
A, Surety B, etc.) headed “CORPORATE SURETY(IES)." In the space

designated “SURETY(IES)" on the face of the form, insert only the let
identification of the sureties.

(cb) Where individual sureties are involved, a completed Affidavit
Individual Surety (Standard Form 28) for each individual surety, st!
accompany the bond. The Government may require the surety

4. Corporations executing the bond shall affix their corporate seal
Individuals shall execute the bond oppasite the word “Corporate Sei
and shall affix an adhesive seal if executed in Maine, New Hampsh
or any other jurisdiction requiring adhesive seals.

5. Type the name and title of each person signing this bond in -
space provided.

 

STANDARD FORM 25A irev.10-98) BAC
 

Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 67 of 84 Page 1 of 3

PHILADELPHIA GAS WORKS a Access Your Account Online www.pgworks.com
> GAS LEAK EMERGENCIES: (215) 235-1212 Billing & General Information (218) 235-1000 (English & Espafiol)

 

ENERGY USAGE SNAPSHOT

 

 

   
         

 

 

Hello James Coppedge, 3
3742 N 18TH ST, PHILA PA 19140-3533 £ 600
Account Number: 0755172653 ©
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eee EN $11,635.41 O“SEP ocT NOV DEC JAN FEB
Bias) 03/16/2022 WRN Prior Year MM Actual GQ Estimated
Billing Date FEB 19, 2022
Service From 01/20/2022 - 02/17/2022 Average Average Daily Temperature
Past Due $10,388.81 Daily: Gost 34° Current Month | Compared to 32° prior year
Current Charges $1,140.03 $40.72
Adjustments $106.57 Current Month age Over Laatven?
Thank you for your payment of $820.00 Compared to 439 Cof* Monthly Average | 1663 Cef Total
$19.92 prior year

 

*See terms on pg. 2

MESSAGE CENTER hee sep) : Lisl

Pay Less With CRP From PGW — Customers who qualify for CRP may cut their i, the |

a
PGW bill by half and past debt is forgiven. Apply or renew your application at ,
PGWorks.com/CRP or by phone at 215-235-1000. : & 3

 

 

Get Up To $1,500 For Your Heating Bill — LIHEAP is open and may cover
natural heating costs for the year! Apply now: PGWorks.com/LIHEAP

What’s That Smell? Natural gas has a rotten egg-like odor for easy
detection. If you think you smell gas, leave the area immediately, then call :
| Kok O27 foh/2ze

PGW's Emergency Hotline at 215-235-1212.
ary, the ton 4 U4. Dist
Cf ~- PA CAT22CU-E TG

 

| Pay Online www.pgworks.com Pay By Phone (215) 235-1000 (English & Espafiol) Pay With Cash (See Back For Details)
*a convenience fee of $2.95 will be applied

     
  

   

    
 
 

  

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money order made payable to Philadelphia Gas Works. $1 1 635.41 03/ 1 6/ 2022

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IMyPGW (oO) MyPGW @MyPGW /MyPGW ©) PhillyGasWorks
8
PHONE SX Service Centers (9AMTO 5PM) M T W Th F
Gas Leaks & Emergencies (24/7) (215) 235-1212 | Germantown 212 W. Chelten Ave. vv e
Residential Customer Service (8am to 6pm, M-F) (215) 235-1000 S. Philadelphia 1604 S. Broad St. e .
Commercial Customer Service (8am to 4:30pm, M-F) (215) 235-7077 | Frankford 4410 Frankford Ave. v vv
Credit & Collections (8am to 4:30pm, M-F) (215) 235-1777 N. Philadelphia 1337 \A Erie Ave / 4 ov

   

Report Theft of Gas (24/7) (215) 684-6383 | —W. Philadelphia. 5280 nut St. SV

TERMS
CCE - 100 cubic feet of gas. This is a measure of gas usage. One Bee thPGW Gas Service tariff on pgworks.com for full details
CCF is about the amount of gas used to run an average-sized house {dbommodity Charges — The charge for basic gas supply

heater nonstop for one hour. “Ay }

 

Gas usage is determined by multiplying the MCF usedyby the he
content value of the gas. Customer Charges — A monthly charge to cover NGDC costs such

\
Dekatherms (DTH) - A measure of the heat content value of gasy, I
~— as maintaining the lines, meter reading and billing.

 

MICF - 1,000 cubic feet of gas. This is a measure of
Distribution Charges — The charge for delivery of natural gas from

/ the point of receipt by the NGDC to the customer.
Distribution System Improvement Charge (DSIC) - A charge
Budget Bill — An optional billing method which averages estimated approved by the Pennsylvania Public Utility Commission (PUC) for
service costs over a 12-month period. recovery of the reasonable and prudent costs incurred to repair.
improve, or replace eligible distribution property. A DSIC provides
Customer Responsibility Program (CRP) — PGW’s low income PGW with the resources to accelerate the replacement of aging
customer assistance program which provides a lower monthly bill and infrastructure.

forgiveness of pre-program debt.
Gas Cost Adjustments — Amount billed or credited each month to

Meter Reading Information — PGW uses its best effort to obtain an account for differences between projected and actual gas supply
actual meter reading regularly, and at least every six months for costs of the NGDC.

customers without automatic meter reading devices. When the meter

is not read, PGW estimates your gas use. To avoid estimates, you Weather Normalization Adjustment — An adjustment approved by
may read your own meter and call us with the reading. We also offer the PUC as a way to help PGW stabilize its income and operate more

stamped, preaddressed postcards, which you can use to send us your efficiently within its budget during the heating season.
meter reading by the specified date. To request a supply of these

cards, call (215) 235-1000, or write us at P.O. Box 3500, Philadelphia,

PA 19122.

‘ Natural Gas Distribution Company (NGDC) — A state regulated
natural gas utility which owns the gas lines and equipment necessary
to deliver natural gas to the consumer. PGW is an NGDC.

RIGHTS & OBLIGATIONS

Asummary of your rights and obligations as a PG
customer will be made available upon request. A fate \
schedule and an explanation of how to verify the b

accuracy of a bill and’an explanation of the variou
P| BRING THIS BARCODE TO ANY Vv charges will be made available upon request.

SUPPLIER INFORMATION a,
If you have selected a Natural Gas Supplier other than

 

 

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DOLLAR GENERAL 1G
PGW, the Natural Gas Supplier is responsible for the WY

sana ¥ecVvs billing of Supplier Charges. PGW will bill for gas delivedy.
sees é Cvs according to the tariff for your rate class. Commodity.
By accepting or using this barcode to make a payment, you agree to the full terms and conditions p tices and charges are set by the Natural Gas Sup lien
available at VanillaDirect.com/ferms. After successfull payment using this barcode, you may retrieve you have chosen. The Public Utility Commission r Ss
your full detailed e-receipt at VanillaDirect.com/Pay/ereceipt. the distribution prices and services. =
Five dollar ($5.00) minimum payment required with barcode. Batcode must be presented at . \

time of payment. Participating vendors will only accept cash with barcode. Payments made with
barcode must be made before 4:00 p.m. in order to post to account the same day. Payments
made with barcode while termination of service is in progress will not serve to stop termination
of service. For eligible accounts only.

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 69 of 84

=a e
Payment Address: =a | Pp ; O Nn e ©C r
City of Philadelphia Pioneer Lockbox =o

#1687 Credit Recovery

P.O. Box 8500 Hours of Operation: EST/EDT
Philadelphia, P& 191781887 26 EDWARD STREET, ARCADE, NY 14009 Fido no A ie
Phone: 1-686384/0067 Saturday 8:00 AM - 12:00 PM ET
Correspondence Address: Fax: 1-877-653-2839 i .
Pioneer Credit Recovery, Inc.
P.O. Box 308

Pay online: http://myaccount.pioneercreditrecovery.com
Date: 02/24/2022 Otepied ao Lthirrmeel Jer Qesenk Vibe,
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Chote Ca AclhirenA- of hey COcertuAy ,

Re: Reference # 12312014-012-131253200 ,
Current Amount Due: $9,712.08 Vay Jerrd CC. Pin DZlosyY220)
BRT#: 131253200 SCE#: 1200009751 f $ es
Property Address: 3742 N 18TH ST QM tyyd by onl
Philadelphia PA 191403533 CuehtAheve 4 UL Ortata- KA

Second Notice - Action Required C4“22~—-cCr -479

Perry, NY 14530

Dear COPPEDGE JAMES:

As you were previously notified, the City of Philadelphia, has assigned Pioneer Credit Recovery, Inc. to collect the delinquent
commercial trash fee listed below. The total balance due is subject to the accrual of additional penalties and/or interest.

Please call us today at 1-866-834-0067 or send payment to the address on the detachable coupon at the bottom of the page.

If your business is financially unable to pay the full amount of the liability all at once, you may qualify for an installment payment
agreement on the balance in full or a payment agreement that includes a partial abatement of penalty. Contact Pioneer Credit

Recovery, Inc. to arrange for repayment of your account.

The City of Philadelphia Department of Revenue may use legal enforcement procedures to collect your commercial trash fee if
you fail to make payment arrangements, or pay your outstanding balance in full. Possible collection efforts in compliance with
the enforcement of the Philadelphia tax law ordinance include:

e Attachment of your financial assets
e And/or the sale of your personal and real property by the Sheriff of Philadelphia

Returned Checks. If your check is returned unpaid for insufficient or uncollected funds, (1) you authorize The City of
Philadelphia or its agent to make a one-time electronic fund transfer from your account to collect a fee of $20; and (2)
The City of Philadelphia or its agent may re-present your check electronically to your depository institution for

payment.
Toll Free Phone Number: 1-866-834-0067

This is an attempt, by a debt collector, to collect a debt and any information obtained will be used for that purpose.

PLEASE SEE NEXT PAGE FOR IMPORTANT INFORMATION.
PLEASE RETURN THIS PORTION WITH YOUR PAYMENT. THANK YOU!
Please see next page if you would like to pay by credit card or pay online http://myaccount.pioneercreditrecovery.com

YD C at olen Please call us at 1-866-834-0067 if you have a new address
io G or telephone number.

BRT#: 131253200 SCE#: 1200009751

“Y te Qe ted bela 7 Adacrsiny Balance Due: $9,712.08

“TVttace Thr ca.f - Amount Enclosed: 7 Ad 108
J Aeven Aerneleesl Tirrhye Make Check payable to: City of Philadelphia

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PO BOX 8500

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“Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 70 of 84

As of the date of this letter, the balance shown is owed. Because interest and penalties may be required to be paid on the
outstanding portion of the balance, the amount required to pay the balance in full on the day payment is sent may be
greater than the amount stated here. If the amount stated here is paid, an adjustment may be necessary after a payment
is received. In that event, notification will occur of any adjustment in the balance. Before any payment intended to pay the
balance in full happens, please contact us at the address on this letter, or call 1-866-834-0067.

Ref Num Creditor Principal Interest Other Collection
Amount Amt* Charge

12312014- Philadelphia $150.00 $136.50 $193.13 $0.00
012- Commercial Trash

131253200 Fee

06302016- Philadelphia $150.00 $109.50 $159.38 $0.00
012- Commercial Trash

131253200 Fee

06302021- Philadelphia $250.00 $17.50 $30.00 $0.00
012- Commercial Trash A

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12312017- Philadelphia $150.00 $82.50 $125.63 $G\00
012- Commercial Trash f

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06302018- Philadelphia $150.00 $73.50 61 438 $0.00
012- Commercial Trash

131253200 Fee /

12312013- Philadelphia $300.00 $999.00 $423.75 $0.00
012- Commercial Trash f) n /

131253200 Fee

06302019- Philadelphia $1 $55.50 $91.88 $0.00
012- Commercial Trash .

131253200 Fee A

06302014- Philadelphia ~ $150.00 $145.50 $204.38 $0.00
012- Commercial Trash

131253200 Fee

06302020- Philadelphia $150.00 $37.50 $69.38 $0.00
012- Commercial Trash

131253200 Fee

12312019- Philadelphia $150.00 $46.50 $80.63 $0.00
012- Commercial Trash

131253200 Fee

12312016- Philadelphia $150.00 $100.50 $148.13 $0.00
012- Commercial Trash

131253200 Fee

12312015- Philadelphia $150.00 $118.50 $170.63 $0.00
012- Commercial Trash

131253200 Fee

06302017- Philadelphia $150.00 $91.50 $136.88 $0.00

 

ACCOUNT HOLDER: COPPEDGE JAMES

ACCOUNT NUMBER: 13587060 CURRENT AMOUNT DUE: $9,712.08
BRT#: 131253200 SCE#: 1200009751

(1 PAYMENT ENCLOSED: Check Amount $: (make checks payable to City of Philadelphia)

 

____ Card Number: Expires: /
Payment Amount: $ (One-time payment only. Please contact us to make multiple payments.)

Card Holder Name: Card Holder Signature: Today’s Date:

C1 WITHDRAW FROM MY BANK ACCOUNT-ACH: (For authorization, please complete the form below and sign. Or, you may attach a
voided check or voided savings deposit slip from your bank account and sign below.)

 

 

 

 

Bank Name:
ABA/Transit/Routing #: | | | | | | | | | JI pccount #:
Payment Amount: $ Payment Date: / / (One-time payment only. Please contact us to make multiple payments.)

Account Holder Name: Account Holder Signature: Today's Date:

 

 

 
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012- Commercial Trash

131253200 Fee

12312010- Philadelphia $150.00 $207.00 $281.26 $0.00
012- Commercial Trash

131253200 Fee

12312018- Philadelphia $150.00 $64.50 $103.13 $0.00
012- Commercial Trash

131253200 Fee

42312012- Philadelphia $300.00 $336.00 $465.00 $0.00
012- Commercial Trash

131253200 Fee

12312021- Philadelphia $250.00 $17.50 $30.00 $0.00
012- Commercial Trash

131253200 Fee

12312011- Philadelphia $300.00 $378.00 $517.50 $0.00
012- Commercial Trash

131253200 Fee

12312020- Philadelphia $150.00 $28.50 $58.13 $0.00
012- Commercial Trash

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06302015- Philadelphia $150.00 $127.50 $181.88 $0.00
012- Commercial Trash

131253200 Fee
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*The amount shown here may consist of penalties, late fees, or charges incurred or nest your creditor.

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=a t power outages, gas leaks or odors, and safety hazards related to PECO
NSS et Equipment. For all other business, call 4-800-494-4000

    

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YOUR BILL IS PAST DUE
Name: FREDERICK DANCY
Service Address: 3739 N 18TH ST PHILADELPHIA, PA 19140

Account Number: 0990284029
Issue Date: February 01, 2022

You have not paid the $10,410.97 you owe. Your balance must be paid now. Until you pay this amount,
we will continue to add late-payment charges. If you have paid your bill in the last few days, please
ignore this letter.

If you are having trouble paying
We have several programs that could help you manage your monthly bills, such as:

* budget billing to even out the cost of monthly bills throughout the year and
* payment arrangements to help you pay off past due amounts.

We are here to help...
Contact us at 1-888-480-1533 to discuss your account. | i; 0
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Return only this portion with your check made payable to PECO. Please write your account number on your check.

=> PECO. ; Monday through Friday 7 a.m. to 7 p.m.
An Exelon Company ene Aelia 1-877-432-9384

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FREDERICK DANCY 09902-84029

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 74 of 84

AFFIDAVIT OF DEFENSE

HJR-192 AND PUBLIC LAW 73-10

MEMORANDUM OF LAW FOR DEBT DISCHARGE IN SUPPORT OF
NEGOTIABLE DEBT INSTRUMENTS FOR TENDER OF PAYMENTS [UCC 1-201(24), 3-415, 3-
419, 1-308, PENNSYLVANIA CONSOLIDATED STATUS TITLE 3 UCC in § 3-603 (a)(b)(c) § 3-604,
and CHAPTER 31§ 3104, 3106. All debts are accepted for the assessed value, closure and
settiement of the accounting, pursuant to UCC 1-301, 3-301 in consideration of the U.S
CONSTITUTION ARTICLE 1, § 10 (Suspended). It is therefore impossible to pay-debts-at-law.

LAWS THAT GOVERN ELECTRONIC FUNDS TRANSFER INSTRUMENTS, AND MONEY

The Federal Government took our lawful money out of circulation in 1933 but Congress had to
provide the people a remedy. Public Law: “Chap. 48, 48 Stat. 112" under HJR 192 is that remedy
and in part states that the Federal Government will discharge ail of our debts, public and private,
dollar for dollar. This has been one of the best kept secrets in this Bankrupt Nation.

They took everything including all property and titles to property and left us only with an ability to
discharge debt and create money through our signature and they never bothered to tell us.

We create money when we apply for bank loans with our signature. It is our signature and credit in
our ability to work that creates the money of account and this has been the case since 1933. The
banks have a monopoly to our credit and for this “service" they charge principal and interest on
nonexistent money all the time giving the impression they lent us their money and this is fraud
because they never revealed where the money came from. This is true for Credit Card-accounts and
Mortgages. .

1. House Joint Resolution. 73rd Congress. Session 1. Chapters 48& 49. June 5, 6, 1933 H.J.R.
192. 1491 Public Law 1 48 Stat iconfirmed in ~Perry v. U.S. (1935) 294 U.S. 330-381, 79 LEd
912, as well as ~Title 31 United States Code (USC) 5112, 5119 and again 12 USC 95a. When a
goverment goes bankrupt, it loses its sovereignty.

2. Public Law 10 Chapter 48, 48 Stat. 112.
3. Public Law 73-10 40 Stat 411

4. Trading With the Enemy

Act (TWEA) OCT 6, 1917 1) That, Legal tender under the Uniform Commercial Code (U.C.C.),
Section 1-201(24) (Official Comment); “The referenced Official Comment notes that the definition of
money is not limited to legal tender under the U.C.C. The test adopted is that of sanction of
govemment, whether by authorization before issue of adoption afterward, which recognizes the
circulating medium as a part of the official currency of that government. The narrow view that money
is limited to legal tender is rejected."Under HJR 192 June 05, 1933 and validated in Perry above the

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 75 of 84

of the above, under necessity, having no other means to pay debts at law, but being estopped and
denied access to lawful constitutional money of exchange, the undersigned can only exercise the
remedy under necessity to set off/discharge the ‘debtfliability’.

Your Affiant, flesh and blood with PRE-PAID EXEMPT status as a current Creditor of the U.S.
CORPORATION since it’s bankruptcy in 1933 and with full understanding of how the monetary
system works. Federal laws prohibits any banks from loaning against its own credit and customer's
deposits, so my signature creates the asset of these funds which you then monetized to your gain
ten (10) times, then my signature does certainly “pay” this supposed liability;

THEREIN, you are required by LAW to accept this EFT instrument and credit the above account, in
honor, within 24 hours upon acceptance pursuant to U.C.C. § 3-501.

Any dishonor will be construed as a commercial injury, violation of agreement, fraud, fraud by
scienter, violation of commercial law and otherwise. UCC codes used in verified tender of payment
1-201 general definitions governing eft

10. CONSPICUOUS

EFT in red .

3-311 (d). Receipt of an instrument is satisfaction

3-501-(4) day after day of receipt

3-603 tender of payment

(b) refusal is discharge

(c) able& ready to pay at every place of a payment stated

Your Affiant has claimed, maintain, and have at all times has retained his Constitutionally secured
Rights especially, but not limited-to, all aspects of this instant matter, Brady v. U.S., 397 U.S., 742 at

748. “Waivers of Constitutional Rights must not only be done voluntarily, they must be knowingly
intelligent acts done with sufficient awareness of the relevant circumstances and consequences.

AS FOR FORECLOSURE FRAUD AGAINST SLC AND REAL TIMES
SOLUTIONS THE FOLLOWING EVIDENCE HAS NOT BEEN DISCLOSED IN THE DISCOVERY

- PROCESS DUE THE LACK OF DUE PROCESS OF LAW.

“In light of the fact that virtually all promissory notes taken by banks, mortgage companies, etc.,
were sold at some time after the “closing” for the respective transactions — without the right in
discovery to physically inspect, and photocopy the original wet-ink instrument, (production of
the original instrument), meaning that the bank, mortgage company, etc., retained physical
possession of the NOTE, standing in court to enforce the instrument in foreclosure is
impossible pursuant to the Uniform Commercial Code. (UCC).

This is the law behind — “Show Me the Note!”

Statutory Requirements For Establishing The Right To Enforce An Instrument
Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 76 of 84

  

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nation is bankrupt and to support the bankruptcy my signature as a man created the curren of the
realm for the transaction making me the Creditor. The existing state of emergency is verified ~Title

12 § 95, 95a, 95b and 411 Should this be doubted then these two quotes (of many more) verify the
truth... since the principal part of any thing is the beginning. Maxim of Law...

Banks cannot lend depositor’s money to borrowers without the depositor’s written authorization, in
reality, banks do not lend their depositors money. ~12 U.S.C. §1828. :

“As the situation stands at present, the banker is in a unique position. He has probably the only
known instance, in business of the possibility of lending something without parting with anything, and
making a profit on the transaction, obtaining in the first instance his commodity free.” ~C. H. Douglas
in a speech in Newcastle in 1923. (Credit River Decision, creating money from thin air)

“A national bank has no power to lend its credit to any person or corporation. ~Bowen v. Needles
Nat. Bank, 94 F 925 36 CCA 553, certiorari denied in 20 S. Ct 1024, 176 US 682, 44 LED 637.

“A bank is not the holder in due course upon merely crediting the depositors account.” Bankers Trust
v. Nagler, 229 NYS 2d 142, 143.

2) That, the Federal Reserve Bank in its booklet, MODERN MONEY MECHANICS page 3,
States; “In the United States neither paper currency nor deposits have as commodities. Intrinsically,
a dollar bill is just a piece of paper, deposits merely book entries.”

3) That the “giving a (federal reserve) note does not constitute payment.” See Echart v
Commissioners C.C.A., 42 Fd2d 158.

4) That the use of a (federal reserve) ‘Note’ is only a promise to pay. See Fidelity Savings v
Grimes, 131 P2d 894.

5) That Legal Tender (federal reserve) Notes are not good and lawful money of the United States.
See Rains v State, 226 S.W. 189. -

6) That (federal reserve) ‘Notes do not operate as payment in the absences of an agreement that
they shall constitute payment.’ See. . Blachshear Mfg. Co. v Harrell, 2 S.E. 2d 766.

7) Also, Federal Reserve Notes are valueless. See IRS Codes Section 1.1001-1 (4657) C.C.H.).

8) In light of the holding of Fidefity Bank Guarantee vs. Henwood, 307 U.S. 847 (1939), take
notice of ... “As of October 27, 1977, legal tender for discharge of debt is no longer required. That is
because legal tender is not in circulation at par with promises to pay credit. There can be no
requirement of repayment in legal tender either, since legal tender was not loaned {nor in circulation}
and repayment [or payment] need only be made in equivalent kind; A negotiable instrument.”

9) U.C.C. 3-603; “If tender of payment of an obligation to pay an instrument is made to a person
entitled to enforce the instrument and the tender is refused, there is discharge, to the extent of the
amount of the tender...”

10) ORS 81.010 “Effect of unaccepted offer in writing to pay or deliver, An offer in writing to pay a
particular sum of money or to deliver a written instrument or specific personal property is, if not
accepted, equivalent to the actual production and tender of the money, instrument or property.” (the
latter here operates via the rule of Para Materia in Tennessee.)

11) “That because of failure of a lawful consideration the Note and Mortgage are null and void"
See First National Bank of Montgomery v Jerome Daly, case # 19144 (1968). THEREFORE, in light

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 77 of 84

 

 

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Prepared by: ‘ames Coppedge

AFFIDAVIT OF STATUS OF JAMES COPPEDGE

_ Semen Coppedge

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Dover. DE 19906-2001

STATE OF MARYLAND ?

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-COUNTY OF BALTIMORE ’

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the apt Of 21 years of age. afber firs: being duly swoen acconiiag to bnew tp cil the treth to
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and believes these facts ta be tree to the best of his knowledge.

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Case 2:22-cv-00679-JMY Document 4 Filed 03/10/22 Page 78 of 84

   
 
 
 
 
  
 
 
 
 
 
 
 
 
  
  

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ACCOUNT INFORMATION

® sYelalaa nder Consu Mer USA Statement Date 01/09/2022

Account Number 0021976877

Account Status as of
Statement Date

) Last Payment Made 01/06/2022
Monthly Payment $624.53

wf Past Due $0.00
a fur Unpaid Fees and Charges $10.00

TOTAL AMOUNT DUE
$629.59 by 01/29/2022

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ACCOUNT ACTIVITY SINCE LAST STATEMENT FREE PAYMENT OPTIONS

Pay using Auto Pay when you sign up by visiting

 

 

 

 

 

Date Description Total Principal _| Interest Late Fees | Other Fees MyAccount, SantanderConsumerUSA.com or
01/06/22 | Payment Made -$627.00 -$377.30 -$249.70 $0.00 $0.00 call us at 888.222.4227 to request the Auto Pay
12/12/21 | Payment Made -$627.00 -$222.75 -$404.25 $0.00 $0.00 authorization form by mail

12/10/21 Late Fee Assessed $10.00 $0.00 $0.00 $10.00 $0.00 Pay online using a checking/savings account at

MyAccount.SantanderConsumerUSA.com
Pay by phone using a checking/savings account
on our automated system at 888.222.4227

Pay by mail: Santander Consumer USA

©2020 Santander Consumer USA Inc. All rights reserved. P.O. Box 660633
Questions? Go to MyAccount.SantanderConsumerUSA.com or call Cates, 1h 2eee-ess
Please include your account number on your check

888.222.4227. or money order: Allow 5-7 days for delivery:
i. See reverse for alternative payment options.

 

 

 

 

 

 

 

 

 

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—— SPECIAL OFFERS & MESSAGES |

   

Signing up for paperless statements with Santander Consumer USA is easy:
1. Log on at MyAccount

2. Choose the “Go Paperless” option

3. Select “Electronic” under “Statement Preferences”

4. Click "Save"

Then simply watch your email for notification that your electronic statement is available. It's convenient, clutter free, and
gives you one less thing to think about each month.

Sign up at myaccount.santanderconsumerusa.com to receive your electronic ane statement via email.

4 — Toreceive proper credit, please detach and return with your payment, indicating the at amount al tf
—— PAYMENT COUPON

 

 

 

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Pays hee Une Que be) Lita Apewary Account Number 0021976877
To update your address and/or telephone information, Due Date 01/29/2022
(.) a please check the box and fill out the reverse side.

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— ACCOUNT INFORMATION

 

Questions? Go to MyAcst ASG GnGPCo MIM RA Pom) Moy aha9SUBE Mb ay Fikes DBiDI2 2. Spa Phi Wh GAry 7 a.m. to 5 p.m., CT.

PAYMENT INFORMATION

 

Auto Pay. Sign up today for Auto Pay and your re LOR: p s will automatically be deducted from your personal checking os pur 71
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USA.com

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MoneyGram or Western Union. Express payments can be made using MoneyGram or Western Union Quick Collect. Please visit
MyAccount,SantanderConsumerUSA.com for details, including fees that may apply.* Please note:

» MoneyGram Receive Code is 1544 » Western Union City Code is PITSTOP, State Code is TX

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CheckFreePay. This service enables customers to walk into nearly 25,000 retail locations nationwide to make their automobile payment. Just
= take the bottom portion of your billing statement and cash payment to a nearby CheckFreePay location. To find the location nearest you, visit
www.checkfreepay.com. Fees may apply.*

$ PayNearMe. This service enables customers to walk into nearly 9,000 locations nationwide to make their automobile payment. Most stores
O are open 24 hours a day, 7 days a week. Just visit www.paynearme.com/santanderconsumerusa to get your payment code. Visit your nearby
(9) 7-Eleven or Ace Cash Express and provide the cashier with your payment code. Make your cash payment and keep your receipt as proof of
payment. To find the location nearest you visit www.paynearme.com. Fees may apply.*

*A third-party payment processing company may charge a fee to process your payment.

‘Late Payment Warning: If we do not receive your payment(s) — including any fees or late charges that have been assessed — by the due date, you

/\ may have to pay a late fee. In addition, our service center associates will contact you for collection of payment. We may report information about

your account to credit bureaus. Late payment(s), missed payment(s) or other default(s) on your account may be reflected in your credit report.

Watch a video to learn more about simple interest contracts at www.SantanderConsumerUSA.com.

Paying Your Account Ahead. Any amount paid over your total due shown on the front of this statement by your due date will be applied to

your balance but will not further advance your due date. You will need to make at least one regular monthly payment by the due date of each

billing cycle, regardless of how much you paid in previous billing cycles, until your account is paid in full. If you would like your payment allocated

differently, please contact us at 888.222.4227.

 

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to obtain your payoff information, next payment due, date of last payment or to update your account at any time Santander Consumer USA
call 888.222.4227. You may also use this system to make a payment by phone. Follow the simple instructions that P.O. Box 660633, Dallas, TX 75266-0633
will guide you through our menu.

Insurance - Coverage is mandatory. Your contract includes a requirement to maintain an insurance policy on
your vehicle that provides comprehensive and collision coverage and to have a Loss Payee and Additional Insured
Endorsement. Please make sure this information is correctly disclosed on your policy. To update your policy
information at any time, visit MyAccount.SantanderConsumerUSA.com or call 888.222.4227. PO. Box 560289, Dallas, TX 75356-0284,

All verbal communication regarding a bankruptcy

Notice to Customer - If you choose to pay by check and your check is returned unpaid or insufficient or uncollected | needs to be made by calling 888.437.4846.
funds, you are giving the company permission, in advance, to electronically re-present this item and assess a return
fee to your account as provided for and in an amount consistent with your contract and applicable state and federal | Mail your insurance information to:
laws. In the ordinary course of business, your check will not be provided to you with your bank statement, but a Santander Consumer USA

copy can be retrieved by contacting your financial institution. P.O. Box 1984, Carmel, IN 46082.

Accounts Receivable Conversion: By remitting a check for payment, you are authorizing Santander Consumer USA to | jail non-payment correspondence to:
use the information on your check to make a one-time electronic debit from your account at the financial institution Santander Consumer USA

indicated on your check where permitted by law. This electronic debit will be for the exact amount of your check. If P.O, Box 961245, Fort Worth, TX 76161-1245
an electronic debit is processed, the funds may be withdrawn from your account the same business day the payment | |” ‘ ‘

Send bankruptcy notifications to:
Santander Consumer USA
Attn: Bankruptcy Dept.

is received and your check will not be returned to your financial institution. You have the right to dispute the accuracy of
NOTICE OF IMPORTANT RIGHTS - YOU HAVE THE RIGHT TO MAKE A WRITTEN OR ORAL REQUEST THAT information we may have reported to a credit
TELEPHONE CALLS REGARDING YOUR DEBT NOT BE MADE TO YOU AT YOUR PLACE OF EMPLOYMENT. ANY bureau. You may contact Santander by writing a letter
SUCH ORAL REQUEST WILL BE VALID FOR ONLY 10 DAYS UNLESS YOU PROVIDE WRITTEN CONFIRMATION OF describing your dispute. The address for disputes Is:
THE REQUEST POSTMARKED OR DELIVERED WITHIN SEVEN DAYS OF SUCH REQUEST. YOU MAY TERMINATE THIS Santander Consumer USA Credit Bureau Disputes
REQUEST BY WRITING TO SANTANDER CONSUMER USA INC., P.O. BOX 961245, FORT WORTH, TX 76161-1245. P.O. Box 961211, Fort Worth, TX 76161

This is an attempt to collect a debt and any information obtained will be used for that purpose. This communication | Sign up for online statements and recurring

is from a debt collector. payments. Visit the My Account section of

 

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CHANGE OF ADDRESS/TELEPHONE INFORMATION

MyAccount.SantanderConsumerUSA.com and set up an
online account. You will need a valid email address and

©2020 Santander Consumer USA Inc. Alll rights reserved. your social security number to get started.

(PLEASE PRINT)

 

 

If the vehicle is being garaged at a location other than the new mailing address, please
enter to reflect the correct garaging information below.

 

 

 

 

Your Street Address

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Your City State Zip :
Home Phone Cell Phone Vehicle Location Street Address x

S UA
Work Phone Your City =

 

Email Address

Change of address/telephone information may also be done online at MyAccount.SantanderConsumerUSA.com.

State Zip x

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Department of the Treasury
Internal Revenue Service (99)

 

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Payment Voucher

> Do not staple or attach this voucher to your payment or return.
> Go to www.irs.gov/Paymenis for payment options and information.

 

 

OMB No. 1545-0074

2021

 

Print or type

 

14 Your social security number (SSN)
(if a joint return, SSN shown first on your return)

2 If a joint return, SSN shown second
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3 Amount you are paying by check or
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If a joint return, spouse’s first name and middle initial Last name

 

Home address (number and street)

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City, town, or post office. If you have a foreign address, also complete spaces below.

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Foreign country name

 

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Foreign province/state/county

 

Foreign postal code

 

For Paperwork Reduction Act Notice, see your tax return instructions.

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Department of the Treasury
Internal Revenue Service (99)

Payment Voucher

> Do not staple or attach this voucher to your payment or return.

> Go to www.irs.gov/Paymenis for payment options and information.

 

Cat. No. 20975C

OMB No. 1545-0074

2021

 

1 Your social security number (SSN)
(if a joint return, SSN shown first on your return)

Z/ 0-24-2172!

 

2 If a joint return, SSN shown second
on your return

 

3 Amount you are paying by check or
money order. Make your check or
money order payable to “United
States Treasury”

 

FIV 29

 

 

4 Your first name and middle initial

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If a joint return, spouse’s first name and middle initial

Last name

 

Print or type “

 

 

Home address (number and street) Apt. no. City, town, or post office. If you have a foreign address, also complete spaces below. State | ZIP code
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2 BRACKLEY CH 9 VEL | LE PR oy

 

 

 

Foreign country name

 

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For Paperwork Reduction Act Notice, see your tax return instructions.

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Case 2:22-Cv-00679-JMY Document 4 Filed 03/10/22 Page 83 of 84

POSTAL See SrRVICE e

PRIORITY
MAIL

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UNITED STATES
S POSTAL SERVICE

CUSTOMER USE ONLY

FROM: (rcease print)
JAMES COPPEDGE

52 BARKLEY CT
DOVER, DE 19904

  

 

PHONE ( )

 

 

  

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PAYMENT BY ACCOUNT (if applicable)
USPS® Corporate Acct. No.

ORIGIN (POSTAL SERVICE USE ONLY)

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LD, DE

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Federal Agency Acct. No, or Postal Service™ Acct, No.

 

 

DELIVERY OPTIONS (Customer Use Only)

C1 SIGNATURE REQUIRED Note: The mailer must check the “Signature Required” box if the
Requires the OR 2) Pi additional ORS) F COD seice;

 
 

 

 

 

 

Purchases Return Receipt service. If the boxis not checked, the Postal Service will leave the item In the
mail receptacle or other secure location without attempting to obtain the addressee’s signature on delivery,
Delivery Options

1 No Saturday Delivery (delivered next business day)

 

(1 sunday/Holiday Delivery Required (additional fee, where available*)
*Refer to USPS.com® or local Post Office™ for availability.

 

 

 

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U.S. DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

 

601 MARKET ST. FIRST FLOOR
PHILADELPHIA, PA 19106

 

 

 

DELIVERY (POSTAL SERVICE USE ONLY)

 

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Time Accepted Return Receipt Fee live eer -
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Special Handling/Fragile Sunday/Holiday Premium Fee | Total Postage & Fees
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| HAMA | EP13F July 2013

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